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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


CENTER FOR BIOLOGICAL
                                              Case No. 8:21-cv-1521-WFJ-CPT
DIVERSITY, TAMPA BAY
WATERKEEPER, SUNCOAST
WATERKEEPER, MANASOTA-88, and                 FIRST AMENDED COMPLAINT FOR
OUR CHILDREN’S EARTH                          DECLARATORY AND INJUNCTIVE
FOUNDATION,                                   RELIEF
       Plaintiffs,
       v.
GOVERNOR RON DeSANTIS,
and
SHAWN HAMILTON, in his official capacity
as ACTING SECRETARY, FLORIDA
DEPARTMENT OF ENVIRONMENTAL
PROTECTION,
and
HRK HOLDINGS, LLC,
and
MANATEE COUNTY PORT
AUTHORITY,
       Defendants.



                             I.    INTRODUCTION

1.    For decades, Defendants have known that the Piney Point Phosphate Facility

(“Piney Point”) threatens imminent and substantial endangerment to Floridians’

lives, health, and environment. Described as a “ticking time bomb” by Senator
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Marco Rubio, the wastewater infrastructure at Piney Point is inadequate and

incapable of treating all the wastewater and stormwater accumulating at the site; the

impoundments (sometimes referred to as “reservoirs”) retaining hundreds of millions

of gallons of wastewater are leaking and are at risk of further catastrophic failure; and

the single, inadequate plastic liner overlaying the hazardous phosphogypsum stacks

is tearing, cracking, ripping, and failing, creating direct pathways for dredged

material from the Port Manatee Berth 12 expansion project and precipitation to leach

beneath the liner, where it mixes and comingles with radioactive and toxic waste.

2.    Defendants correctly predicted that the impoundments at Piney Point could

not safely retain anticipated precipitation and stormwater. Nevertheless, Defendants

took no corrective action to redress this known risk. As such, in April 2021,

Defendants chose to discharge at least 215 million gallons of untreated, hazardous

wastewater directly into Tampa Bay. As of the filing of this complaint, that nutrient-

laden pollution in the form of nitrogen and phosphorous has triggered harmful algae

blooms with associated fish kills, putting Tampa Bay, neighboring waterways, and

all Floridians that make use of these impacted waterways in jeopardy.

3.    Defendants’ malfeasance must stop. Plaintiffs are public interest organizations

focused on securing and safeguarding Floridians’ health and the environment. They

bring this lawsuit to ensure Piney Point is operated and closed in a manner that

complies with the Resource Conservation and Recovery Act and abates the present


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imminent and substantial endangerment to human health and the environment,

including endangered species such as manatees and sea turtles.

                        II.    JURISDICTION AND VENUE

4.     This Court has jurisdiction pursuant to the Resource Conservation and

Recovery Act (“RCRA”), 42 U.S.C. § 6972(a), and the Federal Water Pollution

Control Act, commonly referred to as the Clean Water Act (“Clean Water Act”), 33

U.S.C. § 1365(a). This Court also has jurisdiction under 28 U.S.C. § 1331 (federal

question) and 28 U.S.C. §§ 2201-2202 (declaratory judgments and further relief).

5.     As required by RCRA, 42 U.S.C. § 6972(b)(2)(A) and the Clean Water Act, 33

U.S.C. § 1365(b)(1), Plaintiffs provided pre-suit notice of their intent to sue on

Defendants via Registered Mail, return receipt requested. That notice was served on

May 17, 2021. A copy of Plaintiffs’ Notice of Intent to Sue is attached hereto as

Exhibit A.

6.     Pursuant to 42 U.S.C. § 6972(b), Plaintiffs bring this suit prior to expiration of

RCRA’s statutory 90-day notice period. Id. (“No action may be commenced under

subsection (a)(1)(B) of this section prior to ninety days after the plaintiff has given

notice of the endangerment…except that such action may be brought immediately

after such notification in the case of an action under this section respecting a

violation of subchapter III of this chapter.”). Plaintiffs allege herein that Defendants’




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actions and omissions at Piney Point have caused solid and otherwise exempt1

hazardous waste to mix and comingle, creating a new material that satisfies the

statutory and regulatory definitions of hazardous waste.

7.     More than sixty days have passed since Plaintiffs served their May 17, 2021

Notice of Intent to Sue on Defendants and on state and federal agencies. 33 U.S.C. §

1365(b)(1)(A). See 40 C.F.R. § 135.2(c) (pre-suit notice under the Clean Water Act

“shall be deemed to have been served on the postmark date if mailed[.]”).

8.     Neither the United States Environmental Protection Agency (“EPA”) nor the

State of Florida has commenced and is diligently prosecuting a civil or criminal

action in court to require compliance with the Clean Water Act as requested by

Plaintiffs herein and in the Notice of Intent to Sue. 33 U.S.C §1365(b)(1)(B).

9.     Neither the EPA nor the State of Florida has commenced an administrative

penalty action under the Clean Water Act, 33 U.S.C. § 1319(g), or under a

comparable state law, to redress and correct the Clean Water Act violations Plaintiffs

have identified herein and in the Notice of Intent to Sue.

10.    This Court has the authority to grant declaratory relief pursuant to the

Declaratory Judgment Act, 28 U.S.C. § 2201, et seq.

11.    Venue is proper in this district under 42 U.S.C. § 6972(a) and 33 U.S.C. §


1
  Pursuant to the “Bevill” amendment, phosphogypsum stacks and related process wastewater are
typically exempt from RCRA’s hazardous waste regulations. See 40 C.F.R. § 261.4(b)(7)(D).
Defendants’ actions and omissions at Piney Point, as alleged herein, vitiate that exemption.
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1365(c)(1) because the alleged violations occurred in the United States District Court

for the Middle District of Florida. Piney Point is located at 13300 Highway 41

North, Palmetto, FL 34221.

12.    Neither the United States Environmental Protection Agency nor the State of

Florida has commenced an action concerning Piney Point under RCRA, the

Comprehensive Environmental Response, Compensation and Liability Act

(“CERCLA”), 42 U.S.C. § 9604, incurred costs to initiate a Remedial Investigation

and Feasibility Study under Section 104 of the CERCLA, or obtained a court order

or issued an administrative order under Section 106 of CERCLA. See 42 U.S.C. §

6972(b)(2)(B) & (C).

                                    III.     PARTIES

                                           Plaintiffs

13.    Plaintiffs are not-for-profit, public interest organizations whose members who

live, work, and recreate in the State of Florida. Plaintiffs share similar interests in

improving, protecting, and preserving regional water bodies and groundwater.

14.    Plaintiff Center for Biological Diversity (the “Center”) is a national, not-for-

profit conservation organization with offices throughout the United States. The

Center has more than 84,000 members nationwide, and thousands in Florida, with

many living near and recreating in Tampa Bay. The Center is dedicated to the

protection of native species and their habitats through science, policy, and law. The


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Center has an office in St. Petersburg, Florida.

15.   The Center and its members are directly injured and harmed by Defendants’

violations of RCRA and the Clean Water Act. The Center has members that live,

work, and recreate in proximity to Piney Point. These members also make use of the

waterways and natural areas in proximity to Piney Point for recreational, aesthetic,

and related purposes. These members’ aesthetic, recreational, and other

constitutionally-protected interests are injured by Defendants’ actions and omissions

at Piney Point.

          a. For instance, the Center has two members who routinely recreate in

             Tampa Bay and its wild areas, and know first-hand how devastating a

             harmful algae bloom can be for these fragile ecosystems. These

             members are long-term volunteers for Tampa Bay’s National Wildlife

             Refuges, something they do for recreational enjoyment and in

             furtherance of their after-retirement professional pursuits. They have a

             deep appreciation for Tampa Bay and the diverse wildlife that inhabits

             it. They conduct monthly bird inventories for the Refuges and have

             together donated in excess of 15,000 hours of time protecting and

             preserving these critical places for Tampa Bay. They are significantly

             impacted by the pollution discharged from Piney Point because the

             marine wildlife they hold dear and enjoy watching, such as manatees,


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            sea turtles, sea birds, and dolphins are dying. These members witnessed

            birds, fish, and other wildlife suffer during the red tide event in Tampa

            Bay in 2018. These members are harmed because the pollution from

            Piney Point has created additional harmful algae blooms. One of these

            members has their health impacted by harmful algae blooms, which

            cause respiratory and sinus problems in addition to their offensive

            odors. As a result, this member has reluctantly curtailed their monthly

            trips to the Refuges and ceased recreating in Tampa Bay due to the red

            tide persisting in the area. The other member is also a lifelong boater

            and angler. The member no longer consumes fish that they obtain from

            Tampa Bay because of the pollution at Piney Point; their enjoyment of

            fishing is also lessened knowing that Defendants discharged millions of

            gallons of harmful pollution into Tampa Bay. These members would

            like to take their 22-foot, shallow-draft boat into and around Tampa

            Bay, both for recreating by bird and other wildlife watching and for

            taking friends and family out on the water, but refrain from doing so

            because of the pollution at Piney Point. These members’

            constitutionally-protected interests have been injured by the pollution

            originating at Piney Point.

         b. The Center has another member that lives near waters impacted by


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            pollution from Piney Point and experienced the devastating algae

            blooms in Tampa Bay in 2018. This member and her family enjoy

            recreating in Tampa Bay, including kayaking and paddle boarding. The

            member’s enjoyment of these activities in and around Tampa Bay has

            been lessened due to the discharges and environmental catastrophe

            threated by Piney Point. The member has already noticed high levels of

            lyngbya in the areas where the member paddles and kayaks, lessening

            her enjoyment of those activities. The member finds the smell of the

            lyngbya mats offensive and does not want to paddle in waters impacted

            by lyngbya or harmful algae blooms for fear of the impacts they could

            have on the member’s health and wellbeing and therefore has avoided

            doing so. The member is involved in a turtle watch organization and

            knows that sea turtles can be injured by additional pollution and

            harmful algae blooms caused by Piney Point’s discharges. The member

            volunteers doing inventories for horseshoe crabs, and has started

            observing lyngbya and other algae bloom precursors in Robinson

            Preserve and elsewhere. The member also volunteers for a wildlife

            rescue organization, where the member has witnessed first-hand the

            impacts of harmful algae blooms on seabirds and other wildlife. This

            member’s constitutionally-protected recreational and aesthetic interests


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            are injured by Defendants’ violations of RCRA and discharges into

            Tampa Bay in violation of the Clean Water Act.

         c. The Center has a member that routinely recreates in close proximity to

            Piney Point. This member canoes the marine waters near Piney Point

            that have been directly impacted by the discharges from Piney Point.

            The member enjoys the aesthetic beauty of the area and particularly

            likes birdwatching. This member previously volunteered during the last

            red tide event cleaning up dead fish from the beaches of the area. The

            member’s recreational and aesthetic interests are injured by Defendants'

            violations of RCRA and the Clean Water Act at Piney Point, because

            this member’s enjoyment of canoeing and birdwatching is lessened

            knowing there are harmful pollutants in the water caused by

            Defendants’ actions and omissions at Piney Point. This member had

            definite plans to canoe the area this year, but has modified those plans

            because the discharges from Piney Point resulting in a loss of the

            member’s recreational and aesthetic enjoyment. Additionally, this

            member is concerned that a catastrophic collapse could cause the

            member serious bodily injury or death.

16.   Plaintiff Tampa Bay Waterkeeper (“TBWK”) is a Florida not-for-profit

corporation with members throughout Tampa Bay. TBWK is dedicated to protecting


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 and improving the Tampa Bay watershed while ensuring swimmable, drinkable, and

 fishable water for all. TBWK’s approach combines sound science, policy advocacy,

 grassroots community engagement, and education to stand up for clean water

 together as a community, ensuring a clean and vibrant future for the Tampa Bay

 watershed. To further its mission, TBWK actively seeks federal and state

 implementation of environmental laws, and, where necessary, directly initiates

 enforcement actions on behalf of itself and its members.

 17.   TBWK has been registered as a not-for-profit corporation in Florida since

 2017. TBWK is a licensed member of Waterkeeper Alliance, Inc., an international

 not-for-profit environmental organization, made up of some 350 separate

 Waterkeeper programs, such as TBWK.

 18.   Tampa Bay Waterkeeper and its members are injured and harmed by

 Defendants’ violations of RCRA and the Clean Water Act. Tampa Bay Waterkeeper

 has members that live, work, and recreate in proximity of Piney Point. These

 members also make use of the waterways and natural areas in proximity to Piney

 Point for recreational, aesthetic, and related purposes. These members’ aesthetic,

 recreational, and other constitutionally-protected interests are injured by Defendants’

 actions and omissions at Piney Point.

           a. For instance, Tampa Bay Waterkeeper has a member that routinely

              utilizes Tampa Bay, Bishop Harbor, and other waters near Piney Point


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            that are impacted by Defendants’ pollution. This member recreates in

            these waterways by boating, fishing, and otherwise enjoying and

            observing the marine wildlife that are endemic to Tampa Bay. This

            member’s constitutionally-protected recreational and aesthetic interests

            are injured by Defendants’ violations of RCRA and the Clean Water

            Act, because this member fears how the pollution from Piney Point

            degrades water quality and threatens significant health risks. Because of

            Defendants’ violations of RCRA and the Clean Water Act, this member

            has curtailed their use and enjoyment of impacted waters.

         b. Tampa Bay Waterkeeper has another member that operates a leasehold

            in Tampa Bay close to Piney Point, where the member raises and

            harvests oysters for commercial and personal consumption. The

            member’s individual and business interests are injured as a result of

            Defendants’ violations of RCRA and the Clean Water Act caused by

            the pollution from Piney Point. The member was required to cease all

            shellfish operations by the State of Florida due to impaired water

            quality, including exceedances for the organisms that are responsible for

            harmful algae blooms. The member has suffered business losses as a

            result. Additionally, this member is a life-long Floridian and routinely

            recreates in and around Tampa Bay, including boating. The member’s


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              recreational interests are injured, as the member’s recreational

              enjoyment of the waters of Tampa Bay are lessened knowing that

              Defendants’ pollution from Piney Point has contaminated its waters

              and contributed nutrients that will lead to additional harmful algae

              blooms.

 19.   Plaintiff ManaSota-88 is a Florida not-for-profit, public interest corporation.

 ManaSota-88 has spent over 50 years fighting to protect Florida’s environment. It is

 dedicated to protecting the public's health and preservation of the environment.

 ManaSota-88’s is committed to safeguarding Floridians’ air, land, and water quality.

 20.   ManaSota-88 has members that work, live, and recreate in proximity of Piney

 Point. These members also make use of the waterways and natural areas in

 proximity to Piney Point for recreational, aesthetic, and related purposes. These

 members’ aesthetic, recreational, and other constitutionally-protected interests are

 injured by Defendants’ actions and omissions at Piney Point.

           a. For instance, ManaSota-88 has a member who routinely recreates in

              close proximity to Piney Point. This member canoes the marine waters

              near Piney Point that have been directly impacted by the discharges

              from Piney Point. The member enjoys the aesthetic beauty of the area

              and particularly likes birdwatching. This member previously

              volunteered during the last red tide event cleaning up dead fish from the


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            beaches of the area. The member’s recreational and aesthetic interests

            are injured by Defendants' violations of RCRA and the Clean Water

            Act at Piney Point because this member’s enjoyment of canoeing and

            birdwatching is lessened knowing there are harmful pollutants in the

            water caused by Defendants’ actions and omissions at Piney Point. This

            member had definite plans to canoe the area this year, but has modified

            those plans because the discharges from Piney Point reduce his

            recreational and aesthetic enjoyment. Additionally, this member is

            concerned that a catastrophic collapse could cause the member serious

            bodily injury or death.

         b. ManaSota-88 has another member who lives on Anna Maria Island in

            proximity to Piney Point and routinely recreates on the Island and

            nearby. This member is extremely concerned about how pollution from

            Piney Point will impact the member’s health and recreational interests.

            The member experienced the devastating 2018 red tide event in Tampa

            Bay, and developed health problems as a result. The member witnessed

            the large fish kill that was caused by that event and suffered from

            offensive odors inside the member’s home. The member is an avid

            painter, a recreational pursuit from which the member derives

            substantial enjoyment, and prefers to paint the natural world and beauty


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              that surrounds Tampa Bay. The member’s health and recreational

              interests are injured by Defendants violations of RCRA and the Clean

              Water Act and the pollution from Piney Point. The member is afraid to

              go to the beach to paint and is deeply concerned that the member’s

              health will be negatively affected by Piney Point’s pollution.

 21.   Plaintiff Suncoast Waterkeeper (“SCWK”) is a Florida not-for-profit, public

 interest organization with members throughout Southwest Florida. SCWK is

 dedicated to protecting and restoring the Florida Suncoast's waterways and water

 resources through fieldwork, advocacy, environmental education, and enforcement,

 for the benefit of the communities and SCWK’s members who rely upon these

 precious coastal resources.

 22.   SCWK aims to protect local waterways and resources for use for water contact

 recreation, aesthetic enjoyment, fishing, boating, wildlife observation, educational

 study, potable consumption, and spiritual contemplation. To further its mission,

 SCWK actively seeks federal and state implementation of environmental laws, and,

 where necessary, directly initiates enforcement actions on behalf of itself and its

 members. SCWK has been registered as a not-for-profit corporation in Florida since

 2012 and has maintained its good and current standing in Florida since that time.

 Like TBWK, SCWK is a licensed member of Waterkeeper Alliance, Inc.

 23.   Suncoast Waterkeeper has members that work, live, and recreate in proximity


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 of Piney Point. These members also make use of the waterways and natural areas in

 proximity to Piney Point for recreational, aesthetic, and related purposes. These

 members’ aesthetic, recreational, and other constitutionally-protected interests are

 injured by Defendants’ actions and omissions at Piney Point.

           a. For instance, one member is a fishing guide who regularly is employed

              to guide recreational fishermen in the vicinity of Piney Point, including

              Joe Bay, Cockroach Bay, and Bishop Harbor. The pollution discharged

              from Piney Point and the potential for additional environmental harm

              have impaired his business interests, because customers do not wish to

              engage his services for fishing in polluted water. The member’s own

              personal aesthetic and recreational interests are also negatively

              impacted, as the member’s use and enjoyment of Joe Bay, Cockroach

              Bay, Bishop Harbor, and other waters is lessened as a result of

              Defendants’ violations of RCRA and the Clean Water Act.

           b. SCWK has another member that owns residential property upon which

              she resides within two miles of Piney Point. This member previously

              utilized her HOA community’s irrigation water for her yard and

              garden, but has ceased doing so for fear of pollution, including from

              Piney Point, making it is unsafe to use on the member’s garden and

              fruit trees. This member’s interests are injured by Defendants’ violations


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              of RCRA and the Clean Water Act, because they have injured her use

              and enjoyment of private property and threaten her health and welfare.

 24.   Plaintiff Our Children’s Earth Foundation (“OCE”) is a not-for-profit public

 benefit corporation with members throughout the United States including the Tampa

 Bay Area. OCE’s mission is to promote public awareness of domestic and

 international human rights issues and environmental impacts through education and

 private enforcement actions for the benefit of children and other populations that are

 the most vulnerable to pollution. OCE seeks to prevent environmental damage

 wherever possible and ensure that appropriate environmental protection statutes are

 being followed. Throughout its 20-year history, OCE has regularly initiated

 environmental enforcement actions on behalf of itself and its members. OCE has

 been registered as a not-for-profit corporation in Florida since 2016, and has more

 members in Florida than any other state.

 25.   Since 2016, OCE has focused its environmental enforcement activities related

 to water quality in Florida, and specifically in the Tampa Bay and Sarasota Bay

 areas. OCE members have repeatedly requested that OCE take legal action to

 effectively address water pollution problems impacting their communities, as well as

 sources of pollution that exacerbate harmful algae blooms. OCE members have

 expressed concern and fear regarding their exposure to nutrient pollution as well as

 the impacts of nutrient pollution to waters and wildlife in and around Tampa Bay


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 and the Gulf of Mexico.

 26.   OCE has members that work, live, and recreate in proximity of Piney Point.

 These members also make use of the waterways and natural areas in proximity to

 Piney Point for recreational, aesthetic, and related purposes. These members’

 aesthetic, recreational, and other constitutionally-protected interests are injured by

 Defendants’ actions and omissions at Piney Point.

           a. For instance, OCE has a member who routinely utilizes Tampa Bay

              and other waters near Piney Point that are impacted by Defendants’

              pollution. This member is a photographer who regularly meets with

              clients for events and celebratory photo shoots, usually outdoors. This

              member is also a landscape photographer and environmental

              enthusiast, who enjoys taking photos and videos of beautiful outdoor

              scenes in the Tampa Bay Area. The member’s enjoyment of

              photographing Tampa Bay and its wildlife is negatively impacted by

              Defendants’ violations of RCRA and the Clean Water Act. The

              member enjoys recreating in areas in proximity to Piney Point,

              including kayaking, and the member’s enjoyment of these activities is

              lessened knowing that Defendants discharged millions of gallons of

              pollution into surface waters the member utilizes. This member is also a

              parent to a young child, and fears for how Piney Point’s pollution could


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            impact the child’s health and wellbeing. This member’s constitutionally-

            protected interests are injured by Defendants’ violations of RCRA and

            the Clean Water Act because this member avoids professional or

            recreational activities in or near waters that have been degraded by

            pollution from Piney Point. This member has suffered financial injuries

            to their business through cancellations in previous red tide and other

            algae bloom events, and anticipates losing future bookings this year.

            This member fears the potential health impacts resulting from contact

            or proximity to waters that have been polluted by Piney Point. This

            member has lost trust in government due to their observation of

            inaction and ineffective action by governmental entities including the

            Defendants.

         b. OCE has another member that is a musician who regularly plays gigs

            on beaches and at beachside venues. This member has been impacted

            by Defendants’ pollution and has curtailed their use and enjoyment of

            impacted waters. This member has had fewer gigs with fewer attendees

            in the weeks following the April 2021 pollution events at Piney Point

            because business owners and beachgoers avoid being near the impacted

            waters when harmful algae blooms are present. This member is

            concerned about the health impacts of harmful algae blooms and


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              exposure to water pollution. This member fears the ecosystem impacts

              caused by Piney Point’s nutrient pollution in Tampa Bay. This member

              is concerned about the long-term health of Tampa Bay and the health of

              wildlife that utilizes local water.

 27.   At all relevant times, Plaintiffs were and are “persons” within the meaning of

 RCRA, 42 U.S.C. § 6903(15), and the Clean Water Act. 33 U.S.C. § 1362(5).

 28.   The illegal discharges of pollutants degrade water quality and harm aquatic

 life in Tampa Bay and the waters near Piney Point, and thus threaten or impair each

 of the uses described above or contribute to such threats and impairments, ultimately

 impairing Plaintiffs’ members’ use and enjoyment of these waters.

 29.   The illegal discharges of pollutants threaten or impair each of the uses

 described above or contribute to such threats and impairments. Thus, the interests of

 Plaintiffs’ members have been, are being, and will continue to be adversely affected

 by the illegal discharges from Piney Point. The relief sought herein will redress the

 harms to Plaintiffs’ members caused by illegal discharges from Piney Point.

 Continuing commission of the acts and omissions alleged herein will irreparably

 harm Plaintiffs’ members, for which harm they have no plain, speedy, or adequate

 remedy at law.

 30.   Plaintiffs bring this action on behalf of their members to address and remedy

 the injuries in fact suffered by these members as a result of the illegal discharges


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 described herein. The interests of Plaintiffs’ members at stake are germane to the

 purposes for which the Center, TBWK, SCWK, Manasota-88 and OCE have been

 created. Plaintiffs’ organizational purposes all include protecting surface waters from

 pollution and degradation to promote their members’ and the public’s abilities to use

 surface waters for water contact recreation, aesthetic enjoyment, fishing, wildlife

 observation, educational study, and spiritual contemplation.

                                       Defendants

 31.    Defendant Ron DeSantis is Governor of the State of Florida. Governor

 DeSantis is the head of the executive branch of the State of Florida, under which the

 Florida Department of Environmental Protection operates. Governor DeSantis is

 ultimately responsible for ensuring that Florida’s executive agencies operate in

 compliance with federal law, including RCRA. Governor DeSantis is sued in his

 official capacity.

 32.    Defendant Shawn Hamilton is the Acting Secretary of the Florida Department

 of Environmental Protection (hereinafter referred to as “FDEP,” inclusive of

 Defendant Shawn Hamilton). He is responsible for ensuring that FDEP operates in

 compliance with federal law, including RCRA. Since 2001, FDEP has been tasked

 with overseeing the operations, decisions, and closure of Piney Point. Mr. Hamilton

 is sued in his official capacity.

 33.    Defendant HRK Holdings, LLC is a Florida for-profit corporation, with a


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 principal address of 13500 Scale Ave., Palmetto, FL 34221. HRK Holdings, LLC

 (“HRK”) owns and operates the Piney Point facility under the direct supervision,

 control, and oversight of FDEP and Defendants Shawn Hamilton and Governor

 DeSantis.

 34.   Defendant Manatee County Port Authority (“MCPA”) is an independent

 body that owns and operates Port Manatee.

 35.   MCPA has autonomy from the State of Florida in its operation of Port

 Manatee.

 36.   MCPA has the capacity to sue and be sued without prior approval or oversight

 from the State of Florida.

 37.   MCPA has the authority to manage its finances and incur debt without prior

 approval or oversight by the State of Florida.

 38.   MCPA’s governing body is composed entirely of the Board of County

 Commissioners of Manatee County.

 39.   The Board of County Commissioners of Manatee County is an autonomous

 political body that is not an arm of the State of Florida.

 40.   At all relevant times, Defendants were and are “persons” within the meaning

 of RCRA, 42 U.S.C. § 6903(15).

                              IV.   LEGAL FRAMEWORK

                        The Resource Conservation and Recovery Act


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 41.   Congress enacted RCRA in 1976, amending the Solid Waste Disposal Act, see

 Pub. L. No. 89-272, 79 Stat. 997-1001 (1965), to establish a comprehensive federal

 program to regulate the handling and disposal of solid and hazardous waste. See Pub.

 L. No. 94-580, 90 Stat. 2795 (1976) (codified as amended at 42 U.S.C. § 6901 et seq).

 In so doing, Congress recognized that industries were generating more toxic sludge

 and other pollution treatment residues that required proper disposal. 42 U.S.C. §

 6901(b)(3). Further, Congress recognized that “inadequate and environmentally

 unsound practices” for the disposal of such wastes were responsible for air and water

 pollution that posed an unacceptable threat to human health and the environment.

 See id. RCRA was meant to ensure that such wastes were handled responsibly and

 did not reenter the environment.

 42.   The goal of RCRA is to promote the protection of health and the environment

 and to conserve valuable material and energy resources by ensuring the safe

 treatment, storage, and disposal of solid and hazardous waste. See id. § 6902. To

 achieve this goal, RCRA prohibits “open dumping” on the land and the closure of

 existing open dumps; provide for the management and disposal of hazardous waste

 in a manner that protects human health and the environment; and prohibits solid and

 hazardous waste management that may present an imminent and substantial

 endangerment to health or the environment.




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 43.    Section 7002(a)(1)(B) of RCRA provides that citizens may commence a

 citizen suit against “any person (including…any other governmental instrumentality

 or agency, to the extent permitted by the eleventh amendment),” “including any past

 or present generator, past or present transporter, or past or present owner or operator

 of a treatment, storage, or disposal facility who has contributed or who is

 contributing to the past or present handling, storage, treatment, or transportation, or

 disposal of any solid or hazardous waste which may present and imminent and

 substantial endangerment to health or the environment.” 42 U.S.C. § 6972(a)(1)(B).

 44.    EPA has promulgated regulations and permitting requirements for hazardous

 waste facilities. See generally 40 C.F.R. Parts 260-272.

 45.    RCRA defines “solid waste” as “any garbage, refuse, sludge from a waste

 treatment plant, water supply treatment plant, or air pollution control facility and

 other discarded material, including solid, liquid, semisolid, or contained gaseous

 material resulting from industrial, commercial, mining, and agricultural operations,

 and from community activities.” 42 U.S.C. § 6903(27).

 46.    Under RCRA, hazardous waste is a subset of solid waste. “[H]azardous waste

 means a solid waste, or combination of solid wastes, which because of its quantity,

 concentration, or physical, chemical, or infectious characteristics may—(A) cause, or

 significantly contribute to an increase in mortality or an increase in serious

 irreversible, or incapacitating reversible, illness; or (B) pose a substantial present or


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 potential hazard to human health or the environment when improperly treated,

 stored, transported, or disposed of, or otherwise managed.” 42 U.S.C. § 6903(5).

 47.   EPA regulations provide a set of criteria for determining whether a solid waste

 should also be classified as hazardous waste. 40 C.F.R. Part 261, Subparts B & C.

 48.   In 1980 the “Bevill Amendment” suspended EPA’s authority to regulate

 “special wastes,” including mining and mineral processing wastes, as hazardous

 under Subtitle C until six months after EPA’s completion of a detailed study on the

 adverse human health and environmental effects and a published Bevill

 determination for each particular category of special waste. See 42 U.S.C. §

 6921(b)(3)(A).

 49.   In 1990, EPA completed its study of phosphogypsum under RCRA and

 submitted the required report to Congress for 20 mineral processing special wastes,

 including phosphogypsum and process wastewater. EPA, Report to Congress on Special

 Wastes from Mineral Processing (1990); Special Wastes From Mineral Processing

 (Mining Waste Exclusion), Final Regulatory Determination and Final Rule, 56 Fed.

 Reg. 27300 (June 13, 1991).

 50.   The 1990 study found widespread groundwater contamination at

 phosphogypsum stack sites including contaminated off-site wells, the potential for

 drinking water source exposures, several documented damage cases that impacted

 both ground and surface waters and threatened and harmed aquatic life, increased air


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 pathway cancer risk for those living near stacks, and varied and inadequate state

 regulation.

 51.   Constituents of most concern that present a hazard to human health and

 included radionuclides, arsenic, chromium, selenium, cadmium, radium-226, lead,

 vanadium, copper, antimony, thallium, fluoride, and selenium.

 52.   The report also found an increased hazard and contaminant release potential

 should the industry expand in the absence of Subtitle C regulation.

 53.   Nevertheless, due to costs to the industry in complying with a Subtitle C

 program, EPA’s determination published the following year exempted

 phosphogypsum and process wastewater (as well as all other special wastes) from

 Subtitle C regulation. Special Wastes From Mineral Processing (Mining Waste

 Exclusion), Final Regulatory Determination and Final Rule, 56 Fed. Reg. 27300

 (June 13, 1991).

 54.   EPA stated it planned to use existing authorities under either RCRA §7003 or

 CERCLA §106 to address site-specific phosphogypsum and process wastewater

 groundwater contamination problems that pose substantial and imminent

 endangerment to human health or the environment. EPA, Risks Posed by Bevill Wastes

 at 7 (1997).

 55.   As a result, phosphogypsum and process wastewater from phosphoric acid

 production is exempt from regulation as hazardous waste. See 40 C.F.R.


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 §§ 261.4(b)(7)(ii)(D), 261.4(b)(7)(ii)(P); Special Wastes From Mineral Processing

 (Mining Waste Exclusion), Final Regulatory Determination and Final Rule, 56 Fed.

 Reg. 27300 (June 13, 1991).

 56.    Phosphogypsum and process wastewater is instead regulated as “solid waste”

 under RCRA.

 57.    Exempt hazardous waste, such as phosphogypsum and process wastewater

 from phosphoric acid production, loses its exempt status when it is comingled or

 intermixed with other solid waste, where the new waste material exhibits the

 characteristics of hazardous waste. 42 U.S.C. § 6903(5); 40 C.F.R. Part 261, Subparts

 B & C.

 58.    Monoammonium and/or diammonium phosphate production processes are

 not within the scope of the Bevill amendment. 40 C.F.R. § 261.4(b)(7).

 59.    Comingling of Bevill-exempt phosphoric acid production wastes with wastes

 from monoammonium and/or diammonium phosphate production processes vitiates

 the hazardous waste exclusions under 40 C.F.R. §§ 261.4(b)(7)(ii)(D) and

 261.4(b)(7)(ii)(P).

 60.    Comingling of Bevill-exempt phosphoric acid production wastes with any

 other solid or hazardous waste vitiates the hazardous waste exclusions under 40

 C.F.R. 261.4(b)(7).

                                  The Clean Water Act


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 61.   Congress enacted the Clean Water Act “to restore and maintain the chemical,

 physical and biological integrity of the Nation’s waters.” 33 U.S.C. § 1251(a). The

 Clean Water Act prohibits the discharge of any pollutant from a point source into

 navigable waters, unless the discharge is authorized by and complies with a lawfully-

 issued National Pollution Discharge Elimination System (“NPDES”) permit. 33

 U.S.C. §§ 1311(a), 1342.

 62.   The Clean Water Act is implemented in part through the NPDES permit

 program. 33 U.S.C. § 1342 and 40 C.F.R. Parts 122 and 123. NPDES permits

 impose effluent limitations and standards on the discharger, which are designed to

 protect water quality. EPA may delegate this program to the states, id. § 1342(b) and

 40 C.F.R. § 123.61.

 63.   In 1995, EPA delegated authority to FDEP to issue permits and enforce

 Florida’s NPDES permitting program. FLORIDA STAT. § 403.0885 (Establishment of

 federally approved state [NPDES] Program) (“The state NPDES permit shall be the

 sole permit issued by the state under this chapter regulating the discharge of

 pollutants or wastes into surface waters within the state for discharges covered by

 the United States Environmental Protection Agency approved state NPDES

 program.”) (emphasis added). In 2007, EPA and FDEP entered into a Memorandum

 of Agreement, which sets forth a process for FDEP’s administration of the NPDES

 Program under the EPA 1995 delegation.

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 64.   The Clean Water Act authorizes citizens to commence enforcement actions

 against any person “who is alleged to be in violation” of “an effluent standard or

 limitation.” 33 U.S.C. § 1365(a). An “effluent standard or limitation” includes

 permit terms, conditions, limits, and requirements. Id. § 1365(f)(6).

 65.   To advance its goals, Congress established in the Clean Water Act that all

 discharges of pollutants are prohibited “except in compliance” with specified

 provisions of the Clean Water Act including, most importantly, the NPDES

 permitting program. 33 U.S.C. §1311(a); 33 U.S.C. §1342(a); 40 CFR §§122.1 et seq.

 Discharges that violate an NPDES permit also violate the Clean Water Act. 33

 U.S.C. § 1311(a); 33 U.S.C. § 1342(k); 40 C.F.R. § 122.41(a).

 66.   Pursuant to the Clean Water Act, a discharge of a pollutant means “any

 addition of any pollutant to navigable waters from any point source,” and “any

 addition of any pollutant to the waters of the contiguous zone or the ocean from any

 point source other than a vessel or other floating craft.” 33 U.S.C. § 1362(12); see also

 33 U.S.C. § 1362(7) (definition of “navigable waters”).

 67.   The Clean Water Act specifies a number of materials and wastes that, if

 discharged into water, render them pollutants, including, but not limited to, solid

 waste, chemical wastes, industrial waste, biological materials, sand, and rock. 33

 U.S.C. § 1362(6).

 68.   Under the Clean Water Act, the term “point source” means “any discernible,


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 confined and discrete conveyance. . .from which pollutants are or may be

 discharged.” 33 U.S.C. § 1362(14).

 69.     Violations of the Clean Water Act are subject to civil penalties of up to

 $56,460 per day, per violation. 33 U.S.C. § 1319(d), § 1365(a), 40 C.F.R. §§ 19.1-

 19.4. Additionally, the court is empowered to award the prevailing or substantially

 prevailing parties their litigation costs, including expert witnesses’ fees and attorneys’

 fees.

                                      V.     FACTS

                      FDEP Becomes Owner and Operator of Piney Point

 70.     Piney Point was a phosphate fertilizer plant owned and operated by multiple,

 different corporations from 1966 until operations ceased in 1999. Historically, Piney

 Point consisted of an acid plant, a phosphoric acid plant, an ammoniated phosphate

 fertilizer plant with storage for ammonia, phosphoric acid, and other products

 necessary for the manufacture of fertilizer, phosphogypsum stacks with process

 wastewater ponds situated on top of them, and related facilities. All were located

 within an approximately 670-acre parcel of land, which itself lies within thousands of

 feet of the Tampa Bay Estuarine Ecosystem Rock Ponds area, the Terra Ceia

 Preserve State Park, and Tampa Bay.

 71.     Phosphoric acid is produced by the digestion of phosphate rock with sulfuric

 acid. The resulting waste is phosphogypsum and process wastewater.


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 72.   Nitrogen does not occur in process wastewater from phosphoric acid

 production.

 73.   Ammonia does not occur in process wastewater from phosphoric acid

 production.

 74.   The process wastewater retained at Piney Point’s impoundments contains

 ammonia and nitrogen.

 75.   In 1989, citing concern that the radium-rich phosphogypsum would be

 incorporated into other products and diffused throughout the country such that EPA

 would be unable to ensure phosphogypsum radon emissions do not present an

 unacceptable risk to public health, EPA promulgated a National Emissions

 Standards for Hazardous Air Pollutants (NESHAP) rule in the form of a work

 practice standard that required all phosphogypsum be disposed into stacks or old

 phosphate mines. National Emission Standards for Hazardous Air Pollutants;

 National Emissions Standards for Radon Emissions from Phosphogypsum Stacks;

 Final Rule, 54 Fed. Reg. 51654, 51675 (Dec.19, 1989).

 76.   At Piney Point, waste from fertilizer manufacturing was formed over nearly

 40 years into large stacks, which rose as high as 70-80 feet and encompassed 457

 acres, with ponds of process wastewater placed atop them.

 77.   The phosphogypsum stacks at Piney Point were created on top of bare ground.

 There is no engineered liner underneath the stacks.


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 78.   At Piney Point, this waste also included “ponds” of process wastewater that

 accumulated on top of the phosphogypsum stacks.

 79.   As of February 2001, millions of gallons of “pore” process wastewater was

 stored within the phosphogypsum stacks at Piney Point.

 80.   Pore wastewater is a type of process wastewater that is interspersed with the

 gypsum in the phosphogypsum stacks.

 81.   As of the date of filing of this complaint, there remains substantial quantities

 of pore process wastewater stored within the phosphogypsum stacks at Piney Point.

 82.   Phosphogypsum is radioactive and can contain uranium, thorium, and

 radium. Over time, uranium and thorium decay into radium, and radium

 subsequently decays further into radioactive radon, the second-leading cause of lung

 cancer in the United States. Radium-226, found in phosphogypsum, has a 1,600-year

 radioactive decay half-life.

 83.   Phosphogypsum and process wastewater can contain carcinogens and heavy

 toxic metals like antimony, arsenic, barium, cadmium, chromium, copper, fluoride,

 lead, mercury, nickel, silver, sulfur, thallium, and zinc.

 84.   Process wastewater is highly acidic and can contain heavy metals such as

 arsenic, cadmium, chromium, and fluoride, and dissolved solids. Like

 phosphogypsum, process wastewater is also radioactive.




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 85.    Piney Point’s wastewater infrastructure, including its single-lined

 impoundments, monitoring network, wastewater treatment, and phosphogypsum

 stacks and related process wastewater are not compliant with RCRA’s hazardous

 waste requirements. See 40 C.F.R. Parts 260-272.

 86.    Piney Point Phosphates, Inc., a wholly-owned subsidiary of Mulberry

 Corporation, was the owner and operator of Piney Point in 2001. In February 2001,

 Mulberry Corporation filed for bankruptcy and provided Florida State officials with

 48 hours’ notice that it was abandoning the property.

 87.    FDEP became the owner and operator of Piney Point through a court-ordered

 receivership in February 2001.

 88.    FDEP thereafter retained contractors to investigate the Piney Point site and

 propose a means of treating and handling the remaining process wastewater and

 addressing issues with the existing phosphogypsum stacks.

 89.    As part of that investigation, FDEP determined that closure of Piney Point

 was required.

 90.    FDEP instituted a closure plan that involved converting the existing

 phosphogypsum stacks into impoundments capable of storing precipitation that fell

 onto the site.

 91.    That closure plan also involved the placement of a single, High Density

 Polyethylene (“HDPE”) liner over the existing phosphogypsum stacks.


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 92.   Between 2001 and 2004, FDEP hired contractors to implement its closure plan

 at Piney Point. Through that process, FDEP installed approximately 2,593,000

 square feet of HDPE liner at the “New Gypsum Stack-North” or “NGS-N” stack

 and at the two other stacks existing at the facility at this time – the “Old Gypsum

 Stack South,” and “Old Gypsum Stack North.”

 93.   The image below is an aerial depiction of Piney Point:




 94.   Between February 2001 and February 2004, FDEP discharged approximately

 1.1 billion gallons of stormwater and process wastewater from Piney Point into

 Bishop Harbor and Tampa Bay.

 95.   In February 2004, discharges from Piney Point helped trigger an algae bloom

 in Tampa Bay.
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 96.    In February 2004, discharges from Piney Point contributed to an algae bloom

 in Tampa Bay.

 97.    Additionally in 2001, FDEP discharged approximately 50 million gallons of

 wastewater into Bishop Harbor as part of its plan to dewater the stack

 impoundments.

 98.    FDEP was the real property owner of Piney Point from February 2001 until

 August 2006.

 99.    FDEP was the operator of Piney Point from February 2001 until August 2006.

 100. In August 2006, FDEP transferred its ownership of Piney Point to Defendant

 HRK.

 101. As part of that purchase, FDEP and HRK entered into an Administrative

 Agreement, FDEP OGC No. 06-1685.

 102. In Administrative Agreement FDEP OGC No. 06-1685, FDEP represented

 that it would continue working with its contractors to complete FDEP’s closure

 plans and to address the “imminent hazard related to the Phosphogypsum Stack

 System[.]”

 103. In Administrative Agreement FDEP OGC No. 06-1685, FDEP represented

 that its contractors “prepared conceptual closure plans for the entire Phosphogypsum

 Stack System at the Site and detailed plans and specifications for specific portions of”

 the site, and made clear that “HRK had no role in the development of the design,


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 drawings, specifications, and phased Closure construction of the entire

 Phosphogypsum Stack System.”

 104. In Administrative Agreement FDEP OGC No. 06-1685, FDEP and HRK

 agreed that “HRK was not an owner or operator of the Phosphogypsum Stack

 System or any other part or component at or on the Site, nor was HRK a generator

 of any Solid Waste or Hazardous Substances at or on the Site.”

 105. In Administrative Agreement FDEP OGC No. 06-1685, HRK was required to

 allow FDEP and its contractors access to complete FDEP’s closure plan at the site,

 and agreed that FDEP “shall continue to exercise regulatory control” over the

 closure and “any post-closure activities at the Site...such as the final cover, liners,

 monitoring system and process water management and stormwater controls.”

 106. In Administrative Agreement FDEP OGC No. 06-1685, HRK was required to

 provide $2.5 million in an account for the long-term operation and maintenance of

 Piney Point. Expenditures from that account required FDEP’s prior approval.

             Defendants Approve Use of Piney Point for Dredged Material Storage

 107. In 2005, as part of Phase III of the Manatee Harbor Navigation Project,

 Defendant MCPA began exploring plans to create a deepwater berth suitable for use

 by large shipping vessels and to reduce vessel congestion within Port Manatee.

 108. MCPA developed a plan to create an access channel to a new berthing area.

 The project involved impacts to 11.92 acres of shallow bay bottoms, primarily caused


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 by dredging, and was expected to produce 1,170,000 cubic yards of dredged material.

 Additional annual maintenance dredging was anticipated to produce 300,000 cubic

 yards of dredged material.

 109. Overall, MCPA determined it needed a disposal area sufficient to handle

 3,220,000 cubic yards of material over a twenty-year maintenance period.

 110. The MCPA developed a plan involving the pumping of dredged materials

 from the Port expansion into Piney Point’s HDPE-lined impoundments.

 111. FDEP approved the permit necessary for MCPA to begin the dredging process

 in Environmental Resource Permit No. 0129291-0090-EM, as modified by FDEP.

 112. MCPA thereafter entered into a “Dredged Materials Containment

 Agreement” or “DMCA” with HRK on April 19, 2007.

 113. The DMCA specifically identified the Administrative Agreement between

 HRK and FDEP and noted that performance of the obligations under the DMCA

 “shall be of material benefit to [FDEP], and as a result of said material benefit, the

 severance fee for dredging material from sovereignty submerged lands should be

 eliminated or waived by [FDEP].”

 114. Within six months of execution of the DMCA, FDEP waived the

 aforementioned severance fee.

 115. FDEP and HRK thereafter entered into the First Amendment to the

 Administrative Agreement (hereinafter “Amended Agreement”) on August 20, 2007.


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 116. The Amended Agreement stated that, since HRK’s purchase of Piney Point,

 FDEP “has continued to conduct [c]losure work and related tasks at the Site[.]”

 117. FDEP represented its position in the Amended Agreement that “storage of

 dredged materials” to be generated by MCPA’s dredging project would be

 “compatible with the design and purpose of the lined reservoirs constructed by the

 Department[,]” and would “be of benefit to the Department.”

 118. FDEP agreed in the Amended Agreement “to establish a process for [FDEP]

 review of plans for work under the DMCA[.]” Specifically, FDEP and HRK agreed

 that:

         Work to be performed by HRK and MCPA, respectively, under the
         DMCA in accordance with the conditions specified by this Amendment
         constitutes a use which is compatible with the design and purpose of the
         lined reservoirs constructed by [FDEP] and others at the existing
         Phosphogypsum Stack System and with the ongoing Closure of the
         Phosphogypsum Stack System at the Site conducted by [FDEP] as well
         as constituting a beneficial use of the Site which is in the public interest.

 119. FDEP further agreed in the Amended Agreement not to place a protective soil

 cover over the three impoundments to be initially used for dredged material storage:

 the OGS-N, OGS-S, and NGS-S (defined as the “lined DMCA Reservoir

 Compartments”). These impoundments would instead be used for the storage of

 dredged material from MCPA’s Berth 12 expansion project. FDEP retained control

 over the “NGS-N” impoundment to “freely utilize” it “for storage and management

 of process water[.]”


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 120. FDEP represented in the Amended Agreement that placement of dredged

 materials from MCPA’s Berth 12 expansion “constitutes a use that is compatible

 with the design and purpose of the lined reservoirs” that were constructed by FDEP.

 121. Finally, FDEP stated in the Amended Agreement that MCPA’s transportation

 and storage of dredged material within the lined “DMCA Reservoir Compartments”

 constitutes “a beneficial use of the Site which is in the public interest.”

 122. FDEP provided a mortgage note to HRK such that HRK could complete the

 purchase of Piney Point.

 123. FDEP has, at multiple times, agreed to limit HRK’s mortgage payments and

 delayed the maturity date on the mortgage note.

    Defendants Reject the Army Corps’ Warning that the Use of Piney Point for Disposal of
       Dredged Materials Carries Unnecessary Risks to the Public and the Environment

 124. In August 2008, the Army Corps of Engineers (“Corps”) issued its “Draft

 Phase IIII General Revaluation Report and Environmental Assessment Addendum”

 (the “Report”). The Report warned that:

        The Corps of Engineers would need to perform analyses to determine if
        the disposal facility meets the design and construction criteria
        established in Corps of Engineers guidance such as EM 1110-2-5027
        and others as appropriate. In the case of the Piney Point site, there is a
        heightened level of concern with regard to the integrity of the gypsum
        stack which forms the foundation of the dredged material handling
        facility. The heightened level of concern follows from the following
        considerations:

        • The gypsum stack itself is not an engineered structure. There are no
        design plans and specifications, nor as built drawings, nor construction

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       documentation to support the assertion of structural integrity of the
       stack for the purpose of supporting a material handling facility to be
       constructed on top of the stack.

       • The gypsum stack itself contains hazardous and toxic material.

       • There is documentation of past slope stability and piping issues
       experienced at the site.

       The local sponsor, the site owner, and the State of Florida Department
       of Environmental Protection (DEP) have supplied data and have
       asserted that the site is approved for the use intended. However, the
       Corps of Engineers has found the data to be inconclusive.

 125. The Report further warned that “the worst case scenario for Piney Point being

 used as dredged material disposal facility would be a breach in the liner. Such a

 breach would allow water to saturate and cause a failure to the gypsum stack,

 enabling the mixing of large volumes of dredged material with large volumes of

 phosphogypsum.”

 126. The Report also cautioned that storage of dredged materials could vitiate

 RCRA’s hazardous waste exemption for phosphogypsum stacks and their related

 process wastewater. In particular, the Corps stated that:

       Water from rain and the placement of dredged slurry could percolate
       into [the] phosphogypsum stack releasing a leachate that could be
       corrosive and toxic. If leachate meets the characteristics according to 40
       CFR 261.22 and 40 CFR 261.24, then the leachate would be designated
       as hazardous waste. Then the mixture of a solid waste, with hazardous
       waste is considered a hazardous waste. The addition of dredged
       material to a hazardous waste will increase the probability of
       contaminating the surrounding surface and groundwater.

 127. Based on these foreseeable and unacceptable risks, the Corps objected to

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 Defendants’ use of Piney Point for storage of dredged material from the Berth 12

 expansion.

 128. Instead, the Corps required FDEP to certify “Piney Point as a Dredged

 Material Disposal Site,” which would provide assurances that the arrangements for

 use of Piney Point to store the dredged materials would be safe, including extensive

 testing to ensure “that there is no hazardous material that will enter the site.”

 129. Defendants did not heed the Corps’ warning.

 130. FDEP instructed one of its contractors at Piney Point, Ardaman & Associates

 (“Ardaman”), to prepare a risk report responding to the Corps’ concerns. That risk

 assessment was completed in July 2009, and found that the risk of liner failure at

 Piney Point was low, but that the possibility of such a failure could not be

 conclusively ruled out.

 131. Ardaman, however, investigated a liner leak at the Plant City Phosphate

 Complex site just days after it sent FDEP its risk assessment. The liner in question

 was nearly identical to the HDPE liner installed at Piney Point.

 132. The HDPE liner at the Plant City Phosphate Complex was significantly

 compromised in numerous ways: there were large fissures and cracks in the

 phosphogypsum subsurface, which forms the foundation of the liner system; the liner

 showed numerous large tears and punctures; and the liner evidenced both linear tears

 and tears associated conventional wind ballast anchor trenches.


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 133. Ardaman informed FDEP through formal reports and meetings that a plan of

 action was necessary at the site to quickly remediate the failing 80-mil HDPE liner.

 134. FDEP knew by at least April 8, 2010, that the HDPE liner at Piney Point was

 likely to experience the same problems identified by Ardaman at the Plant City

 Phosphate Complex.

 135. Undeterred, Defendants continued with their plan to store dredged materials

 at Piney Point.

 136. On April 8, 2010, FDEP wrote to the Corps restating its support for the use of

 Piney Point to store dredged materials from the Berth 12 expansion.

 137. The Corps again objected, citing Engineer Regulation 1165-2-132,

 “Hazardous Toxic Radioactive Waste for Civil Works Projects,” which specifically

 directs that construction in such areas should be avoided where practicable.

 138. The Corps then reaffirmed its position that the use of Piney Point for disposal

 of dredged materials carries unnecessary risks to the public and the environment.

 139. The Corps thereafter requested, and FDEP provided, a formal covenant not to

 sue relative to the use of the closed Piney Point phosphogypsum stacks for storage

 and disposal of dredged material.

 140. The Corps also required assurances from FDEP that the Corps would not be

 considered a potentially responsible party for purposes of environmental clean-up in

 the event of a leak or discharge at Piney Point.


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 141. FDEP thereafter officially approved the use of Piney Point for storage and

 disposal of the dredged materials.

                   Defendants Transport Dredged Materials to Piney Point

 142. In February 2011, as the Piney Point site was being prepared by Defendants

 for the dredging and disposal operations, a crane collapsed and punctured the HDPE

 liner in the NGS-S.

 143. FDEP’s contractor, Ardaman, drained the NGS-S and visually inspected the

 floor of the liner. Approximately 150 feet from the location where the crane

 impacted the liner, Ardaman discovered a breach in the liner six inches in length,

 located along an extruded ballast trench seam. Beneath the liner breach, there was a

 “solution cavity” four feet in diameter and at least four feet deep.

 144. The liner breach and “solution cavity” are evidence that material stored in the

 NGS-S prior to it being drained had leaked through the HDPE liner, including

 dredged material from the Port Manatee expansion that had already been placed into

 the impoundment before the breach occurred.

 145. The liner breach and “solution cavity” are evidence that material stored in the

 NGS-S prior to it being drained had commingled and intermixed with the

 phosphogypsum waste and process wastewater located beneath the liner.

 146. Defendants knew or should have known through the exercise of reasonable

 care and due diligence that the liner breach discovered by Ardaman in February 2011


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 indicated that the phosphogypsum foundation underlying the HDPE liner was not

 suitable for storage of dredged materials.

 147. FDEP thereafter approved all remaining state permits for MCPA to begin the

 dredging project, and dredging began on April 22, 2011.

 148. MCPA was responsible for the dredging of the Berth 12 expansion project.

 149. MCPA was also responsible for transporting dredged material from the Berth

 12 expansion to Piney Point.

 150. Weeks into the dredging project, HRK reported to FDEP increased flows,

 conductivity, and chloride concentrations in the buried drains based on monitoring

 that was required specifically for the approved dredge disposal operations at the site.

 151. On May 29, 2011, FDEP issued an Emergency Final Order (EFO No. 11-

 0813) that ordered HRK to take actions to help prevent the collapse of the

 phosphogypsum stack system and its impoundments, and authorized controlled

 emergency discharges as needed to protect the integrity of the stack system or its

 impoundments and protect waters of the state.

 152. On June 4, 2011, dredging operations were directed to be fully suspended by

 FDEP based on decreasing water levels in the NGS-S.

 153. Available information suggested a leak at the NGS-S of at least 12,000 gallons

 per minute.




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 154. On June 6, 2011, a strong vortex was identified near the water’s edge in the

 southwest corner of the NGS-S.

 155. This vortex was similar to what FDEP’s contractor, Ardaman, identified in

 the NGS-N in a 2001 Geotechnical Study prepared by Ardaman for FDEP.

 156. Ardaman’s 2001 Geotechnical Study identified three whirlpools located in the

 NGS-N. It stated those whirlpools were examples of a well-developed system of

 interconnected cracks in the subsurface, which can create concentrated flows and/or

 preferential pathways in the foundational soils.

 157. Initial attempts to repair the liner hole discovered on June 4, 2011 were

 unsuccessful and, consequently, the flow rate increased to 35,000 gallons per minute.

 This created another vortex by the toe of the slope of the impoundment, meaning the

 pressure being exerted on the gypsum walls of the impoundment threatened

 catastrophic failure.

 158. On June 7, 2011, FDEP required HRK to perform a controlled breach to the

 NGS-S, specifically an area identified as the “OGS-S stormwater ditch and dike

 system,” to relieve stack pressures onsite, and to prevent an uncontrolled loss of

 containment from the stack system to offsite property and Buckeye Road, located

 south of Piney Point.




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 159. HRK conducted the controlled breach as FDEP required, which caused the

 immediate and continuous discharge of untreated wastewater into nearby surface

 water. This discharge occurred continuously until it was ceased on June 16, 2011.

 160. Through the controlled breach, FDEP required HRK to discharge at least 169

 million gallons of wastewater, consisting of dredged seawater mixed with process

 wastewater, into Tampa Bay.

 161. That discharge contained significant amounts of phosphorus and cadmium.

 162. That discharge helped trigger a harmful algae bloom in Bishop Harbor in

 2011.

 163. That discharge contributed to a harmful algae bloom in Bishop Harbor in

 2011.

 164. Following the breach and discharge, FDEP and Ardaman inspected the liner

 at the NGS-S and identified 29 stress cracks in the liner.

 165. In October 2011, an additional five stress cracks in the liner of the NGS-S

 were identified and disclosed to FDEP.

 166. Ardaman concluded that a tear at the edge of the extrusion weld in the

 southwest corner of the NGS-S propagated, and the leakage found its way through

 preexisting preferential flow paths at the base of the reservoir into the foundation

 sand and/or earthen starter dike 12-15 feet below, inducing erosion of the sandy soils

 under the elevated hydraulic head in the reservoir.


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 167. FDEP, HRK, and MCPA knew, or should have known through the exercise

 of reasonable care and due diligence, that the stress cracks identified by Ardaman

 meant the integrity of the HDPE liner and foundational subsurface were seriously

 compromised and at risk of failure.

 168. HRK completed grouting and repair operations to the phosphogypsum stack

 system and its impoundments by July 19, 2011, and the dredging project was

 allowed to resume thereafter.

 169. The Berth 12 dredging project was completed on October 21, 2011. An

 estimated 1,170,000 cubic yards of dredged material was initially placed into Piney

 Point as a result of the Berth 12 project.

 170. Dredged materials placed by MCPA, FDEP, and HRK into Piney Point’s

 lined impoundments have been leaking, leaching, and otherwise moving down

 through the HDPE liner and into the phosphogypsum material underlaying the liner.

 171. This leaking, leaching, and downward movement of dredged materials has

 been continuous and ongoing since the completion of the Berth 12 dredging project

 on October 21, 2011.

 172. Since October 21, 2011 MCPA has routinely transported and placed

 additional, newly-dredged materials from maintenance dredging of Port Manatee

 into Piney Point. It is estimated that each three-year dredging maintenance cycle




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 produces an additional 300,000 cubic yards of dredged material that is transported

 and disposed of by MPCA into Piney Point.

 173. The dredged materials pass through the liner at the locations where the HDPE

 liner has become compromised, such as through tears, rips, cracks, broken seams,

 and other areas where the liner is no longer structurally intact.

 174. When the dredged materials pass through the HPDE liner, they mix,

 comingle, and/or interact with the phosphogypsum stack and process wastewater in

 such a manner that creates a leachate waste that satisfies all requirements for being

 regulated as hazardous waste under RCRA. 42 U.S.C. § 6903(5); 40 C.F.R. Part 261,

 Subparts B & C. In particular:

           a. The leachate waste created through the comingling and/or mixing of

              dredged material and phosphogypsum waste and related process

              wastewater exhibits the “characteristic of ignitability” under 40 C.F.R. §

              261.21;

           b. The leachate waste created through the comingling and/or mixing of

              dredged material and phosphogypsum waste and related process

              wastewater exhibits “characteristics of corrosivity” under 40 C.F.R. §

              261.22;

           c. The leachate waste created through the comingling and/or mixing of

              dredged material and phosphogypsum waste and related process


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              wastewater exhibits “characteristics of reactivity” under 40 C.F.R. §

              261.23; and

           d. The leachate waste created through the comingling and/or mixing of

              dredged material and phosphogypsum waste and related process

              wastewater exhibits “characteristics of toxicity” under 40 C.F.R. §

              261.24.

 175. HRK filed for bankruptcy on June 27, 2012, after the Port Manatee expansion

 and dredging project was complete.

 176. Beginning in August 2012, HRK, under the supervision of FDEP, transferred

 72-107 million gallons of process water from NGS-N to NGS-S, followed by

 subsequent smaller transfers.

 177. HRK emerged from bankruptcy March 20, 2017.

 Piney Point Continues to Deteriorate, Presenting an Imminent and Substantial Endangerment
                              to Floridians and the Environment

 178. On or about March 13, 2020, an engineering firm hired by HRK again warned

 FDEP in writing of serious problems with the integrity of the site and its HDPE

 liner.

 179. Glen Anderson, an engineer with Wood Environmental & Infrastructure

 Solutions (“Wood”), explained that the risk of an uncontrolled release or breach

 from the site was elevated due to the deteriorating liner conditions above the water



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 line, compromised conditions below the water line, and voids in the dikes that hold

 the water at the NGS-S impoundment.

 180. This letter and warning from Wood were provided to FDEP in direct response

 to FDEP’s request for an annual inspection of the system.

 181. FDEP claimed in its May 15, 2020 response to the Wood letter that the Piney

 Point system “is generally in good condition[.]”

 182. On or about March 25, 2021, HRK reported to FDEP increased flow and

 conductivity measurements in the drains that surround the phosphogypsum

 impoundments.

 183. HRK’s report to FDEP indicated that over a 24-hour period, flow in the

 buried seepage interceptor drains increased over 30 gallons per minute (“gpm”)

 without any associated rainfall.

 184. HRK’s report to FDEP also indicated that conductivity measurements from

 the drain system had gone up from previous readings of up to 6,800 umhos/cm2 to

 readings of up to 9,960 umhos/cm on March 25, 2021.

 185. FDEP conducted a site visit on March 25, 2021. Based on the reported

 readings and the site visit on March 25, 2021, FDEP concluded that the NGS-S

 compartment was leaking below the water level in the impoundment.


 2
   Conductivity is a measure of water’s capability to pass electrical flow. The amount of electrical
 flow that water can pass is a function of the concentration of ions in the water. It is measured in
 “umhos/cm,” which measures electrical resistance (the ohm) over a set distance (the centimeter).
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 186. At that time, FDEP estimated the volume of wastewater in the NGS-S

 compartment to be approximately 480 million gallons.

 187. HRK thereafter began transferring water from the 10-acre lined process water

 sump (the LPWS) overnight in order to accommodate the increased drains flows that

 are routinely pumped from the NGS-S drains to the LPWS.

 188. On March 26, 2021, FDEP determined that the increased flow in the

 interceptor drains showed that leakage emanating from the NGS-S compartment was

 being intercepted by the buried silica-gravel drain system that surrounds the system.

 189. The drain conductivity on March 26, 2021 was 10,520 umhos/cm, and the

 drain flow had increased to 215 gpm.

 190. The drain conductivity of 10,520 umhos/cm is evidence that wastewater had

 leaked, leached, or otherwise moved below the HDPE liner at the NGS-S.

 191. The following image depicts drain flows and conductivities at the time:




 192. On March 26, 2021 HRK began discharging wastewater from Piney Point into

 Piney Point Creek.

 193. Discharges were at a rate of 10,000 to 13,000 gpm.
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 194. On March 27, 2021 drain conductivity increased to 11,440 umhos/cm, and

 the drain flow from the interceptor drain increased to 216 gpm.

 195. The drain conductivity of 11,440 umhos/cm is evidence that wastewater had

 leaked, leached, or otherwise moved below the HDPE liner at the NGS-S.

 196. On March 28, 2021 drain flow increased to approximately 236 gpm, and

 conductivity increased to 13,480 umhos/cm. HRK reported to FDEP significantly

 increases in drain flows at “Structure No. 1,” in response to the increased pumping.

 197. The drain conductivity of 13,480 umhos/cm is evidence that wastewater had

 leaked, leached, or otherwise moved below the HDPE liner at the NGS-S.

 198. The drain conductivity of 13,480 umhos/cm identified on March 28, 2021 was

 approaching the conductivity of the wastewater in the NGS-S impoundment.

 199. On March 28, 2021, FDEP and HRK reported that a “boil,” or an upwelling

 of water, had been observed along the east wall of the NGS-S.

 200. HRK placed an earthen berm to provide initial containment within the

 stormwater ditch, through which contamination was seeping.

 201. The presence of a “boil” along the east wall of the NGS-S is evidence that the

 structural integrity of the NGS-S was compromised.

 202. The presence of a “boil” along the east wall of the NGS-S is evidence that

 wastewater had leached, leaked, or otherwise moved below the HDPE liner in the

 NGS-S.


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 203. On March 29, 2021, FDEP reported that there was continuous pumping from

 the drains around the NGS-S and that the presence of “boils/openings and

 associated releases” from the drain system into the east and north stormwater ditches

 meant there was an increase in total drain rates.

 204. At the location of the drain cleanouts at the northwest corner of the

 phosphogypsum stack system, the water was “pressurized” and discharging at a rate

 of 50-100 gpm.

 205. The leakage in this vicinity of the property was outside of the containment

 berms. That polluted water was discharging directly into Piney Point Creek. Piney

 Point Creek discharges directly into Tampa Bay.

 206. The presence of additional boils/openings and associated releases of

 “pressurized” water discharging from the drain cleanouts is evidence that the

 structural integrity of the NGS-S was compromised.

 207. The presence of additional boils/openings and associated releasees of

 “pressurized” water discharging from the drain cleanouts is evidence that wastewater

 had leached, leaked, or otherwise moved below the HDPE liner in the NGS-S.

 208. Additionally, on March 29, 2021, FDEP and HRK reported that the toe of the

 stack had been pressurized along the east and north walls of the NGS-S. This

 pressurizing had caused “bulging” of the toe.

 209. The “bulging” of the toe of the impoundment is evidence that wastewater had


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 leached, leaked, or otherwise moved beneath the HDPE liner at the NGS-S.

 210. To address the issue, HRK punctured relief holes through the soil and the

 liner.

 211. On March 30, 2021, FDEP indicated that the “pressurized” discharge point

 had increased to 100 gpm and continued to discharge into Piney Point Creek.

 212. On March 30, 2021, along the northern wall of the NGS-S, HRK’s engineer

 reported that pressure on the wall continued to build despite the drilling of relief

 holes.

 213. On March 30, 2021, HRK and FDEP reported increased flows from the

 boils/openings in the stormwater ditch system along the east and northern toe of the

 NGS-S impoundment.

 214. On March 30, 2021, HRK and FDEP reported that pressure was returning

 along the north wall despite the drilling of relief holes on March 29, 2021. As such,

 HRK chose to drill more relief through the soil and liner in the east wall toe ditch to

 try to relieve additional pressure.

 215. On March 30, 2021, at approximately 2 pm EST, HRK began discharging

 wastewater from the NGS-S into Port Manatee via one of two available siphon lines.

 216. Piney Point’s discharge into Tampa Bay at Port Manatee started with an

 initial discharge rate of 11,000 gallons per minute.




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 217. On March 31, 2021, FDEP and HRK reported that the seepage collection

 system at Piney Point continued to be pressurized with underground water flow,

 causing heaving of the surface water collection ditch and liner system along the east

 side of the NGS-S and the north side of the NGS-N. This caused additional

 discharge of process water from Cleanout Number 3 into Piney Point Creek.

 218. On March 31, 2021, FDEP and HRK also reported that the liner along the

 eastern stormwater ditch was bulging from pressure within the seepage collection

 system.

 219. On March 31, 2021, FDEP and HRK reported that there were currently three

 boils and openings in the liner along the stormwater ditch. The first one was seen on

 the east face and two were created on the northeast quadrant to relieve pressure from

 the toe of the impoundment. Two other relief holes were drilled and were flowing

 under a static flow condition.

 220. On March 31, 2021, HRK staff reported that the flow of wastewater from

 cleanout #3 to Piney Point Creek was still estimated to be around 100 gpm. The

 water chemistry had a conductivity of 19,240 umhos/cm along with a pH of 5.11

 s.u.3




 3
   In chemistry, pH is used to measure the acidity or basicity of an aqueous solution. Acidic solutions
 have a lower pH. The pH scale is logarithmic and inversely indicates the concentration of hydrogen
 ions in a given solution.
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 221. Water chemistry of a conductivity of 19,240 umhos/cm and a pH of 5.11 s.u.

 is similar to the process wastewater stored at Piney Point.

 222. On April 1, 2021, HRK attempted to stop the discharge to Piney Point Creek

 from cleanout #3. While the flow was temporarily mitigated, it became backed up

 and began discharging out of cleanout #5.

 223. On April 1, 2021, HRK made additional “relief punctures” along the east

 lined stormwater ditch to relieve pressure from the seepage collection system and the

 toe of the stack.

 224. On April 1, 2021, the original “boil” on the eastern wall of the NGS-S was still

 active.

 225. On April 1, 2021, HRK made five additional punctures along the east face of

 the stack, and pressurized flow was still being observed along the east storm water

 ditch.

 226. On April 1, 2021, FDEP and HRK reported that the “south walls” of the

 OGS-S and NGS-S compartments “appear to be retaining structural integrity at this

 time.”

 227. On April 1, 2021, FDEP and HRK knew that the north and east walls of the

 OGS-S and NGS-S compartments had compromised structural integrity.




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 228. On April 1, 2021, the wastewater that was being pumped from the NGS-S and

 LPWS into “Structure No. 1” had a conductivity of 16,890 umhos/cm, along with a

 pH of 4.10 s.u.

 229. Water chemistry of a conductivity of 16,890 umhos/cm and a pH of 4.10 s.u.

 is similar to the process wastewater stored at Piney Point.

 230. On April 1, 2021, HRK reported that flow to Piney Point Creek from the

 facility had temporarily ceased.

 231. On April 2, 2021, HRK reported that flow of process wastewater into Piney

 Point Creek had resumed at a rate of 40-50 gpm.

 232. On April 2, 2021, there were four new boils along the eastern stormwater ditch

 from the stack. Boil numbers “6, 7, and 9 and the original boil” were all “still

 bubbling” at the time. Boils 4 and 5 were also activity running.

 233. On April 2, 2021, concentrated seepage was identified by HRK and FDEP “at

 the southern third of the NGS-S stack eastern wall, located at approximately 30

 NGVD.”

 234. The presence of concentrated seepage at the NGS-S stack eastern wall is

 evidence that wastewater had leached, leaked, or otherwise moved beneath the

 HDPE liner at the NGS-S.

 235. The presence of concentrated seepage at the NGS-S stack eastern wall is

 evidence that the structural integrity of the NGS-S was compromised.


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 236. On April 2, 2021, Manatee County Emergency Management issued

 mandatory evacuation orders for Buckeye Road, Bud Rhoden Road, Chimichanga

 Pathway, 31st Terrace E, and Onell Road, all in Palmetto.

 237. On April 3, 2021, FDEP and HRK reported that the concentrated seepage

 located on the eastern wall, southern third of the NGS-S “widened overnight.”

 238. On April 3, 2021, FDEP and HRK reported that, at approximately 11:20 AM,

 the “seepage outbreak about a third way up the slope” continued, and that the

 “southern portion of the NGS-S dam (where the seepage is occurring) has shifted by

 approximately 10 feet.”

 239. Consequently, on April 3, 2021, FDEP and HRK evacuated Piney Point.

 240. That the southern portion of the NGS-S dam had shifted 10 feet by April 3,

 2021 is evidence that the NGS-S impoundment had compromised structural

 integrity.

 241. That the southern portion of the NGS-S dam had shifted 10 feet by April 3,

 2021 is evidence that wastewater had leached, leaked, or otherwise moved beneath

 the HDPE liner at the NGS-S.

 242. On April 4, 2021, discharges from Piney Point into Port Manatee continued.

 243. By April 5, 2021, HRK and FDEP reported that the two siphons discharging

 wastewater from the NGS-S into Port Manatee were running at 24,000 gallons

 combined per minute.


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 244. On April 5, 2021, HRK and FDEP reported that they could no longer observe

 the boils along the NGS-S walls due to safety concerns and site conditions.

 245. By April 5, 2021, FDEP took emergency efforts to address uncontrolled

 flooding from the northern toe of the NGS-N.

 246. Uncontrolled flooding at the toe of wastewater impoundment is evidence that

 the impoundment’s structural integrity is compromised.

 247. At some point between April 5 and April 10, 2021, HRK utilized a remotely

 operated vehicle within the NGS-S to identify the source of the leak.

 248. That remotely operated vehicle identified the source of the leak to be a

 ruptured seam in the HDPE liner, namely Seam 21.

 249. HRK attempted to repair that leak by placing a 10 ft. x 10 ft., one-inch thick

 steel plate on top of Seam 271.

 250. Discharges of wastewater from Piney Point to Port Manatee continued non-

 stop through April 9, 2021.

 251. The total amount of wastewater discharged from Piney Point to Tampa Bay is

 approximately 215 million gallons.

 252. On April 14, 2021, FDEP and HRK reported that the flow coming from the

 concentrated seepage location had finally ceased.




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 253. On April 14, 2021, FDEP and HRK reported that “upwelling” was occurring

 in the areas where the relief boils drilled into the east side of the seepage collection

 system. One boil was observed, and the flow velocities had slightly increased.

 254. The upwelling identified on April 14, 2021 is evidence that the structural

 integrity of the NGS-S was compromised.

 255. On April 15, 2021, FDEP and HRK reported that upwelling continued on the

 east side of the seepage collection system, and that flow velocities remained constant

 from April 13, 2021 onward, demonstrating that the steel plate installed at Seam 271

 was not a permanent solution.

 256. In fact, on April 13, 2021, FDEP reported that it had discovered “a small

 detachment underneath” the steel plate placed over Seam 271. This “small

 detachment” caused additional seepage to move out of the NGS-S.

 257. FDEP reported that “low-level” flow continued from the location where the

 steel plate was placed. Upon information and belief, flow continues to date.

 258. On April 17, 2021, FDEP stated that water quality testing in the localized area

 where discharges occurred showed “bloom conditions” along with trace levels of

 cyanotoxins.

 259. By April 20, 2021, FDEP reported that the upwelling continued on the east

 side of the seepage system, and that flow velocities continued to remain constant.




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 260. On April 22, 2021, FDEP identified red tide conditions in lower Tampa Bay,

 southwest of the Manatee River.

 261. On April 23, 2021, FDEP began placing “stone aggregate” underneath the

 steel plate covering the liner seam separation on the east wall of the NGS-S

 impoundment.

 262. The purpose of this aggregate was to slow the flow of wastewater out of the

 impoundment.

 263. Beginning in April 2021, FDEP “methodically” relocated water among the

 lined storage basins onsite to “safely manage water, respond to rainfall events and

 prepare for water treatment.”

 264. FDEP’s relocation of water among and between lined storage basins

 demonstrates FDEP’s role as an operator of Piney Point and its wastewater

 treatment and storage system.

 265. By April 29, 2021, FDEP reported that FDEP and its dive teams determined

 that no further additions of stone aggregate were necessary, and that “flow continues

 to be minimized” as a result of the repairs. Flows had not ceased, however, at that

 time.

 266. On April 30, 2021, FDEP placed a layer of geo-composite material over the

 steel plate at the NGS-S impoundment. FDEP stated that this material will “further




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 stabilize the liner seam-separation.” On May 1, 2021, FDEP called this a “temporary

 repair.”

 267. On May 11, 2021, FDEP decided to add sand around the liner separation at

 Seam 271 in an attempt to continue to minimize leakage from the NGS-S. The

 image below was reported by FDEP on May 12, 2021, showing sand being

 “incorporated” in the NGS-S impoundment.




 268. Despite the addition of the sand, seepage continued to leak through the HDPE

 liner.

 269. By May 16, 2021, FDEP reported that it had placed 7,100 cubic yards of sand

 in the NGS-S compartment in an attempt to reduce the leaking of material through

 the HDPE liner. The image below was publicly reported by FDEP on May 16, 2021,
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 and shows the amount of sand FDEP dumped into the NGS-S in an attempt to stop

 the seepage:




 270. On May 24, FDEP reported that it concluded its placement of sand into the

 NGS-S, eventually putting approximately 16,400 cubic yards of sand into the

 impoundment in an attempt to stop the seepage of wastewater through the HDPE

 liner.

 271. Despite FDEP’s efforts to stop the leak, wastewater within the NGS-S

 continues to seep through the liner breach at Seam 271.

 272. Wastewater that leached, leaked, seeped, or otherwise moved below the

 HDPE liner at Seam 271 mixed and comingled with the phosphogypsum stack and

 process wastewater underlying the HDPE liner.




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 273. Wastewater that continues to leach, leak, seep or otherwise move below the

 HDPE liner at Seam 271 continues to mix and comingle with the phosphogypsum

 stack and process wastewater underlying the HDPE liner.

 274. As recently as June 4, 2021, FDEP publicly stated that it continues its work at

 Piney Point, including its oversight of FDEP and HRK efforts to manage water

 within the impoundments and prepare for upcoming precipitation.

 275. FDEP publicly stated in a June 4, 2021 letter to HRK that the repair work

 completed in the NGS-S compartment was “temporary” and does not bring Piney

 Point into regulatory compliance.

           The Discharges From Piney Point Contribute to Harmful Algae Blooms

 276. It is estimated that the Piney Point discharge put 100 tons of phosphorous and

 205 tons of nitrogen into Tampa Bay.

 277. Lower Tampa Bay has received less than 200 tons of nitrogen per on year on

 average since 2005.

 278. The nitrogen from the Piney Point discharge was at a concentration of 230

 mg/l, significantly higher than the worst performing wastewater treatment plant in

 the region. The nitrogen from the Piney Point discharge was also more volatile and

 biologically active than the nitrogen that typically enters Tampa Bay, meaning that

 the nitrogen from the Piney Point discharge was more readily available for

 consumption by the algae that leads to HABs.


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 279. Nitrogen and phosphorous provide nutrients that cause an overabundance of

 red tide, therefore nutrient pollution from nitrogen and phosphorous makes red tide

 much worse, causing it to bloom longer and more densely.

 280. Red tide substantially intensified within Tampa Bay shortly after the Piney

 Point discharge event.




 281. The discharges of nutrient-laden wastewater from Piney Point have

 contributed and are contributing to Harmful Algae Blooms or “HABs,” in and near

 Tampa Bay.

 282. HABs occur when too many nutrients exist within a marine environment,

 causing the rapid growth of algae, such as cyanobacterial “blue-green algae” and

 Karenia brevis, or “red tide.” As the algae blooms, it depletes the oxygen in the

 marine environment, threatening other marine species. The algae can also release

 harmful toxins that cause illness in humans and animals.




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 283. According to the Centers for Disease Control and Prevention, cyanotoxin

 exposure can cause conjunctivitis, rhinitis, earache, sore throat, and swollen lips.

 Respiratory effects can include atypical pneumonia and a hay fever-like syndrome.

 Exposure can also cause electrolyte imbalances, headache, malaise, and muscle

 weakness/ pain in joints and limbs.

 284. Similarly, red tide produces a neurotoxin called brevetoxin, which can cause

 respiratory irritation, coughing, and more serious illness for people with severe or

 chronic respiratory conditions such as emphysema or asthma. It can also cause

 neurotoxic shellfish poisoning if consumed in oysters and clams.

 285. Red tide abundance of less than 1,000 cells per liter is interpreted to mean

 there is no red tide present, or that it is present at "background" levels. Red tide

 abundance of 1,000-10,000 cells/L is considered "very low," but can lead to possible

 respiratory irritation and shellfish harvesting closures.

 286. Red tide abundance of 10,000-100,000 cells/L is considered "low," 100,000-

 1,000,000 cells/L is considered "medium," and above 1,000,000 cells/L is considered

 "high," but at all three levels can cause respiratory irritation, shellfish harvesting

 closures, and fish kills.

 287. In 2017-2019, a major red tide event occurred in Southwest Florida. The 5-

 county region of Sarasota Bay and Tampa Bay experienced devastating effects

 including the killing of thousands of fish, injured dolphins and manatees, and


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 resulted in a major economic downturn for an economy partially fueled by tourism

 dollars.

 288. The blend of acidic and nutrient-laden pollution discharged from Piney Point

 contributes to the likelihood that HABs will result.

 289. The blend of acidic and nutrient-laden pollution discharged from Piney Point

 in 2021 is presently contributing to HABs in Tampa Bay.

 290. FDEP sampling in response to the Piney Point wastewater discharge shows

 algae was detected in 12 water samples taken in Tampa Bay from April 8-14, 2021,

 according to an FDEP blue-green algae report. Some samples have also contained

 trace levels of cyanotoxins.

 291. On May 26, 2021, aquaculture (oyster) farming was closed in the area due to

 red tide concerns.

 292. On June 3, 2021, Hillsborough County issued a health advisory for the area

 near Piney Point due to red tide blooms detected in the area.

 293. During the week of June 9, 2021, red tide was detected in bloom

 concentrations of greater than 100,000 cells/liter in Pinellas, Manatee, and

 Hillsborough counties, and fish kills suspected to be related to red tide were reported

 in the same counties.

 294. In June 2021, a Lyngbya bloom was identified in Anna Maria Sound and in

 Upper Sarasota Bay.


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 295. Lyngbya is a cyanobacteria that can cause skin irritation and potentially lethal

 if ingested, even indirectly by eating fish that have fed on Lyngbya.

 296. As Lygnbya decomposes it removes oxygen from the water, leading to fish

 kills.

 297. The red tide currently blooming in the lower and middle Tampa Bay has not

 been in such high concentrations in 50 years.




 298. Since Plaintiffs filed their original complaint on June 4 (Dkt. 1), the red tide

 situation in Tampa Bay has become extreme. More than 1,450 tons of dead fish have

 been removed throughout the Tampa Bay and Sarasota Bay estuaries and beaches

 along the Gulf Coast and endangered manatees dying from red tide. The image

 below is available to the public on the Florida Fish and Wildlife Conservation

 Commission and depicts the current presence of red tide in the Tampa Bay and

 Sarasota Bay areas.




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 299. The 2021 discharges from Piney Point have contributed and are contributing

 to the HABs and Lyngbya bloom presently occurring in and around Tampa Bay.

                     Facts Concerning Clean Water Act Violations

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 300. On October 29, 1999, acting under its delegation of authority from EPA of the

 NPDES program, FDEP issued NPDES Wastewater Permit No. FL0000124-001 to

 Piney Point Phosphates, Inc., the previous corporate owner of Piney Point. That

 permit had an expiration date of March 25, 2001.

 301. On September 22, 2000, Piney Point Phosphates, Inc. submitted an

 application for renewal of that permit. On December 4, 2000, FDEP denied the

 permit’s renewal. Piney Point Phosphates, Inc. subsequently filed two extensions for

 its deadline to file an administrative appeal from FDEP’s denial decision, but never

 filed an administrative appeal. Piney Point Phosphates, Inc. declared bankruptcy on

 February 8, 2001.

 302. NPDES Wastewater Permit No. FL0000124-001 expired on March 25, 2001.

 303. By the date of the filing of Plaintiffs' first amended complaint FDEP has never

 renewed NPDES Wastewater Permit No. FL0000124-001.

 304. FDEP has never lawfully issued NPDES permit for the discharge of pollutants

 from Piney Point to any owner or operator of Piney Point since March 25, 2001.

 305. Neither FDEP nor HRK possess a lawfully issued NPDES permit for point

 source discharges from Piney Point.

 306. In the absence of a lawfully-issued NPDES permit, any discharge of any

 pollutant from a point source at Piney Point to navigable waters is in violation of the

 Clean Water Act, 33 U.S.C. § 1311(a).


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 307. In the absence of a lawfully-issued NPDES permit, each and every discharge

 from each and every point source at Piney Point violates the Clean Water Act. Upon

 information and belief, such discharges are ongoing and continuous.

 308. Upon information and belief, between March 26 and April 9, 2021, HRK

 discharged approximately 215 million gallons of wastewater from Piney Point

 through multiple point sources into Tampa Bay, a navigable water (hereinafter

 referred to as the “2021 Discharge.”

 309. HRK and FDEP knew, or should have known through the exercise of due

 diligence and reasonable care, that the impoundments at Piney Point were incapable

 of retaining all of the precipitation falling onto the site, in addition to the millions of

 gallons of process wastewater and dredged material stored at Piney Point.

 310. The 2021 Discharge follows a pattern of unlawful discharges from Piney

 Point. Similar voluminous discharges from Piney Point occurred in 1998, 2001,

 2003, and 2011.

 311. FDEP and HRK were aware for at least the year prior to the 2021 Discharge

 that the impoundments at Piney Point were fast approaching their maximum storage

 capacity. In a February 2, 2021 public presentation, HRK explained that Piney Point

 was quickly losing its ability to safely retain precipitation and process wastewater.

 The presentation concluded that, “[b]ased on current water volumes, action is

 needed ASAP.”


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 312. There is no method utilized by FDEP or HRK to safely handle and lawfully

 dispose of the process wastewater and precipitation at Piney Point. Previous systems,

 such as spray evaporation, have proved inadequate. Thus, it is reasonably certain

 and foreseeable that unlawful discharges from Piney Point without an NPDES

 permit will recur in the future.

 313. On July 7, 2021, with Hurricane Elsa impacting Tampa Bay, Manatee County

 Administrator Dr. Scott Hopes stated that Piney Point was pumping precipitation

 falling onto Piney Point into the county’s stormwater system, further demonstrating

 that the wastewater infrastructure at Piney Point is incapable of retaining

 precipitation.

 314. In the alternative, if the Court determines that a document titled

 “Administrative Agreement” between FDEP and HRK dated January 28, 2021 is a

 lawfully-issued NPDES permit under the Clean Water Act and all applicable federal

 regulations as required under EPA’s 1995 delegation of the NPDES program to the

 State of Florida, then the 2021 Discharge violated its terms. The discharges were not

 authorized in the amounts or at the point sources from which discharges occurred

 and were not a lawful “bypass” under F.A.C. 62-620.610(22)(a), 40 C.F.R. §

 122.41(m)(4), 40 C.F.R. § 123.25(a)(12), or FLORIDA STAT. § 403.0885 (“[t]he

 provisions governing upset and bypass conditions contained in 40 C.F.R. § 122.41

 shall apply to the state National Pollutant Discharge Elimination System


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 Program”) because there were feasible alternatives to the 2021 Discharge, and

 because HRK never provided prior notice to FDEP that there were “no feasible

 alternatives to the bypass, such as the use of auxiliary treatment facilities, retention of

 untreated wastes, or maintenance during normal periods of equipment downtime.”

 315. On March 13, 2020, HRK’s environmental engineer, Wood, provided a letter

 to FDEP explaining that a “higher annual discharge rate” would be required to keep

 Piney Point’s impoundments below their maximum operating level. Wood

 recommended that HRK and FDEP institute a series of alternatives to draw down

 the level of the ponds, “[g]iven the proximity of the upcoming tropical hurricane

 season, the current pond levels and the potential high risk of an uncontrolled

 release.”

 316. The Administrative Agreement requires Defendant to properly operate and

 maintain the treatment and disposal facilities at Piney Point. HRK violated and

 remains in violation of this aspect of the Administrative Agreement because HRK

 has failed to adequately ensure the operation and maintenance of Piney Point is

 compliant with the applicable requirements of F.A.C. 62-672 and 62-673.

 Defendants violated ground and surface water quality standards subsequent to the

 2021 Discharge, and those discharges violated the effluent limitations specified in the

 Administrative Agreement. The discharges were anticipated, the cause known, and

 yet HRK failed to act with the measures and urgency needed to correct the situation


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 or ensure proper operation and maintenance of Piney Point’s wastewater

 infrastructure.

                          VI.      CAUSES OF ACTION

                                       COUNT I

    VIOLATION OF THE RESOURCE CONSERVATION AND RECOVERY
        ACT: IMMINENT AND SUBSTANTIAL ENDANGERMENT

 317. Plaintiffs incorporate Paras. 1-6, 10-27, 31-60, and 70-299.

 318. Defendant Ron DeSantis is Governor of the State of Florida. He is ultimately

 responsible for ensuring all agencies under the executive branch of Florida act

 consistent with federal law, including RCRA.

 319. Defendant Shawn Hamilton is the acting Secretary of FDEP. Defendant Shawn

 Hamilton is responsible for ensuring that all actions taken by FDEP are consistent with

 federal law, including RCRA.

 320. Defendant HRK is a Florida for-profit corporation. Actions taken by HRK at

 Piney Point are under the direct supervision, oversight, and control of FDEP.

 321. Defendant MCPA is an independent political body in the State of Florida.

 MCPA is subject to RCRA.

 322. At all relevant times, Defendants were and are “persons” within the meaning

 of RCRA, 42 U.S.C. § 6903(15).

 323. The phosphogypsum stacks and process wastewater at Piney Point are

 discarded “solid waste” under RCRA, 42 U.S.C. § 6903(27).
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 324. When retained at Piney Point, the discarded solid wastes are not industrial

 discharges which are point sources subject to permits under section 1342 of title 33.

 40 C.F.R. § 261.4(a)(2) (Comment: This exclusion applies only to the actual point

 source discharge. It does not exclude industrial wastewaters while they are being

 collected, stored or treated before discharge, nor does it exclude sludges that are

 generated by industrial wastewater treatment.).

 325. The dredged material transported by MCPA to Piney Point’s HDPE-lined

 impoundments is discarded “solid waste” under RCRA, 42 U.S.C. § 6903(27).

 326. When that dredged material leaks, leaches, or otherwise moves below the

 HDPE liners at Piney Point, it mixes, comingles, and otherwise interacts with the

 solid waste located beneath the liners.

 327. The dredged material has been leaking, leaching, and otherwise moving below

 the HDPE liners at Piney Point since at least February 2011.

 328. The dredged material has been mixing, comingling, and otherwise interacting

 with the solid waste located beneath the HDPE liners since at least February 2011.

 329. The mixing and comingling of the dredged material with the phosphogypsum

 waste and process wastewater underneath the HDPE liners has created a new

 leachate waste that satisfies statutory and regulatory requirements for being

 characterized as “hazardous waste” under RCRA, 42 U.S.C. § 6903(5); 40 C.F.R.

 Part 261, Subparts B & C.


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 330. Because dredged material has mixed, comingled, and otherwise interacted

 with the phosphogypsum waste and process wastewater and created a new

 hazardous waste, the hazardous waste exclusion under 40 C.F.R. §§

 261.4(b)(7)(ii)(D), 261.4(b)(7)(ii)(P) is vitiated and no longer applicable.

 331. Additionally, the presence of nitrogen and ammonia in the process wastewater

 at Piney Point demonstrates that wastes from a phosphoric acid production process

 were comingled with wastes from a monoammonium phosphate and/or

 diammonium phosphate production process, or some other waste stream not from

 phosphoric acid production.

 332. Monoammonium and/or diammonium phosphate production processes are

 not within the scope of the Bevill amendment.

 333. Comingling of Bevill-exempt phosphoric acid production wastes with wastes

 from monoammonium and/or diammonium phosphate production processes vitiates

 the hazardous waste exclusions under 40 C.F.R. §§ 261.4(b)(7)(ii)(D) and

 261.4(b)(7)(ii)(P).

 334. Comingling of Bevill-exempt phosphoric acid production wastes with any

 other solid or hazardous waste vitiates the hazardous waste exclusions under 40

 C.F.R. 261.4(b)(7).

 335. Piney Point is a treatment, storage, and disposal facility for solid waste.

 336. Piney Point is a treatment, storage, and disposal facility for hazardous waste.


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 337. Defendants are the past and present owners and operators of a treatment,

 storage, or disposal facility, namely Piney Point.

 338. Defendant HRK is a past and present owner of Piney Point, and is also a past

 and present operator of Piney Point. 42 U.S.C. § 6972(a)(1)(B).

 339. Defendant HRK has contributed and is contributing to the past and present

 handling, storage, treatment, transportation, and/or disposal of solid and hazardous

 waste at Piney Point. Specifically:

           a. HRK is responsible for the physical operation and maintenance of the

              wastewater treatment and storage facilities at Piney Point, under the

              direct supervision of FDEP;

           b. HRK’s handling and storage of solid and hazardous waste resulted in

              the discharge of millions of gallons of wastewater from Piney Point in

              April 2021;

           c. HRK publicly stated that the storage impoundments at Piney Point are

              incapable of retaining the dredged material and process wastewater at

              the site, yet failed to take timely corrective action;

           d. HRK has retained contractors, agents, and engineers that work on,

              evaluate, and maintain the wastewater infrastructure at Piney Point, as

              evidenced by, inter alia, the Wood Report.

           e. HRK shares in a measure of control over the solid and hazardous waste


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               at Piney Point.

 340. Defendant Shawn Hamilton, as Acting Secretary of FDEP and in his official

 capacity as the chief executive of FDEP, is a past and present owner of Piney Point,

 and is also a past and present operator of Piney Point. Id. Specifically:

           a. Between 2001 and 2006, FDEP was the real property owner of Piney

               Point.

           b. From 2006 to the present, FDEP is a past and present operator of Piney

               Point. FDEP’s status as an “operator” is evidenced by, inter alia:

                   i. The original and Amended Agreement between FDEP and

                        HRK, wherein FDEP was expressly allowed to continue its work

                        on its flawed closure plans for Piney Point;

                  ii. FDEP maintained direct control, oversight, and had prior

                        approval over all expenditures of the money HRK deposited into

                        an account for certain activities related to Piney Point;

                 iii. FDEP maintained direct control, oversight, and had prior

                        approval over all actions taken by HRK at Piney Point, including

                        HRK’s development plans;

                 iv. FDEP’s permitting approvals for the Port Manatee expansion

                        project, express representations4 made in the Amended


 4
  See, e.g., Amended Agreement WHEREAS clauses (unnumbered) (“WHEREAS, the storage of
 dredged materials to be generated by MCPA in a fashion consistent with the Operation and
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                       Agreement with HRK, and representations to the Corps that the

                       site was suitable for storage of dredged materials from the

                       expansion project;

                   v. FDEP’s control of actions by HRK and others concerning the

                       liner leak, impoundment breach, and massive discharge event in

                       2011;

                   vi. FDEP’s involvement, oversight, supervision, and control of

                       actions by HRK and others concerning the liner leak and massive

                       discharge event in 2021; and

                  vii. FDEP’s agreement to limit HRK’s mortgage payments and

                       delaying the maturity date on the mortgage note numerous times.

 341. Defendant Shawn Hamilton, as Acting Secretary of FDEP and in his official

 capacity as the chief executive of FDEP, has contributed and is contributing to the

 past and present handling, storage, treatment, transportation, and/or disposal of

 solid and hazardous waste at Piney Point. In particular:

            a. In both the original and later Amended Agreements between FDEP and


 Management Plan to be developed and approved under Paragraph 9 below will be compatible with
 the design and purpose of the lined reservoirs constructed by the Department and others as part of
 the Closure of Phosphogypsum Stacks at the Site and will be of benefit to the Department”) & Para.
 4 (“the Department hereby agrees to modify the Closure plan by eliminating the planned future
 placement of soil cover on the interior lined slopes and bottom areas of the Piney Point
 Phosphogypsum Stack System reservoir compartments as referenced in paragraph 3 of this
 Amendment and by revising reservoir drainage and outlet structure designs for such
 Phosphogypsum Stack System compartments, as part of the work to be performed by the
 Department under Section III of the Agreement.”).
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            HRK, FDEP expressly was allowed to continue its work on its flawed

            closure plans for Piney Point, including site access and construction

            activities;

         b. Those agreements also made clear that HRK “was not an owner or

            operator of the Phosphogypsum Stack System or any other part or

            component at or on the Site;” this is because FDEP was the operator of

            the Phosphogypsum Stack System;

         c. FDEP maintained direct control, oversight, and had prior approval over

            all expenditures of money that HRK deposited into an account for

            certain activities at Piney Point;

         d. FDEP approved permits for the Port Manatee expansion project over

            the Corps’ objection, and represented to the public that the site was

            suitable for the storage of dredged materials despite having prior notice

            that other phosphogypsum stacks with single HDPE-liners had

            experienced substantial liner failures;

         e. FDEP’s control, oversight, and direction of actions by HRK and others

            concerning the liner leak, impoundment breach, and discharge event in

            2011;

         f. FDEP’s control, oversight, and direction of actions by HRK and others

            concerning the liner leak, impoundment breach, and discharge event in


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              2021;

           g. FDEP’s agreement to limit HRK’s mortgage payments and delay

              maturity of HRK’s mortgage note; and

           h. FDEP’s sharing of a measure of control over the solid and hazardous

              waste at Piney Point.

 342. Defendant Governor Ron DeSantis, as Governor of the State of Florida and in

 his official capacity and the chief executive of the executive branch of the State of

 Florida, is a past and present owner of Piney Point, and is also a past and present

 operator of Piney Point. Id.

 343. As chief executive of the executive branch of the State of Florida, Defendant

 Ron DeSantis is ultimately responsible for the actions of FDEP and its Secretary.

 344. As such, Defendant Ron DeSantis shares in a measure of control over the

 solid and hazardous waste at Piney Point and has therefore contributed and is

 contributing to the past and present handling, storage, treatment, transportation,

 and/or disposal of solid and hazardous waste at Piney Point.

 345. Defendant MCPA is a past generator of solid waste and has contributed and is

 contributing to the past or present handling, storage, transportation, or disposal of

 solid waste and hazardous waste.

 346. In particular, MCPA is a past generator and transporter of solid waste to

 Piney Point, through the dredging and subsequent disposal of dredged material from


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 Port Manatee Berth 12 expansion project into Piney Point’s HDPE-lined

 impoundments. 42 U.S.C. § 6972(a)(1)(B).

 347. MCPA shared in a measure of control over the dredged materials entering

 Piney Point, as evidenced by the DMCA and MCPA’s active role in dredging and

 transporting dredged materials to Piney Point, including subsequent maintenance

 dredging.

 348. MCPA also shares in a measure of control over the hazardous waste that has

 since been created consequent to the disposal of dredged material at Piney Point.

 349. MCPA knew or should have known through the exercise of reasonable care

 and due diligence following the crane collapse in 2011 into one of the HDPE-lined

 impoundments and the subsequent investigation by FDEP that the liners at Piney

 Point were in disrepair and incapable of preventing the downward migration of the

 dredged materials into the underlaying phosphogypsum stack and process

 wastewater.

 350. MCPA is also contributing to the present handling, treatment, transportation,

 and disposal of solid and hazardous waste at Piney Point, because the MCPA is

 planning to dispose of the remaining dredged material and comingled process

 wastewater into one of Florida’s deep aquifers through deep well injection.

 351. Utilizing deep well injection as a means of disposing of the solid and

 hazardous waste at Piney Point presents an imminent and substantial endangerment


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 to health and the environment. The hazardous constituents of the waste will interact

 with otherwise clean groundwater, fouling that water and preventing its beneficial

 use by Floridians for a variety of purposes, including agriculture.

 352. Defendants’ past and present handling, storage, treatment, transportation, and

 disposal of solid and hazardous waste at Piney Point may, and does, present an

 imminent and substantial endangerment to health and the environment.

 353. FDEP publicly admitted that Piney Point presents an imminent and

 substantial endangerment to health and the environment:


       The conditions being reported as of March 29, 2021, appear to indicate
       an imminent threat of a potential loss of containment and a catastrophic
       release of from portions of the stack systems and its impoundments...
       Failure of the NGS-S lined compartment, containing ~ 480 MGal of a
       mixture of seawater and process water, along with phosphogypsum
       embankment materials would likely result in flooding. Flooding may
       occur, either to the south across Buckeye Road, and would require
       evacuation of residential areas further south of Buckeye Road, or if a
       failure were to occur along the eastern wall of the NGS-S, it would
       likely impact property east of the site including a Williams Gas
       Company natural gas compressor station. An uncontrolled failure and
       release impacting the integrity of the NGS-S compartment would
       release the nutrients into freshwater systems leading from the Site prior
       to the drainage entering Bishop Harbor, an OFW that south and east of
       the Piney Point Site... The ongoing leak at the Site and the resulting
       pressures that are impacting the drains surrounding the Site’s
       phosphogypsum stack system could also threaten the integrity of the
       Stack System along the northern wall at the toe of the NGS-N lined
       pond that contains an additional 240 MGal of process water. While the
       conductivity of that water is less than the conductivity of the leaking
       NGS-S compartment, the water quality in the NGS-N is generally
       closer to aged process water in its other water quality parameters and
       presents potentially a greater acute water quality impact to Bishop

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       Harbor and Tampa Bay, if discharged in an uncontrolled fashion due to
       failure of the Site’s stack system.

 354. A catastrophic failure of the impoundments and/or stack system at Piney

 Point presents an imminent and substantial endangerment to human health and the

 environment. Such failure would cause the uncontrolled release of hazardous and

 radioactive pollution, along with significant devastation to public and private

 property caused by millions of gallons of wastewater being suddenly released from

 the site. Piney Point is also located in close proximity to Tampa Bay, including

 Bishop Harbor, and a catastrophic failure will cause incalculably damage to the

 estuarine and marine ecosystem.

 355. Piney Point presents an imminent and substantial endangerment because

 FDEP has owned and operated the Piney Point site in a manner that has created the

 endangerment described above, as follows:

           a. FDEP’s decision(s) in its closure plan to use single HDPE liners at

              Piney Point, when FDEP knew or should have known through the

              exercise of reasonable care and due diligence that such liners had failed

              at other similar phosphogypsum stacks being monitored by FDEP’s

              own contractor, Ardaman;

           b. FDEP’s decision(s) in its closure plan to use single HDPE liners at

              Piney Point, when FDEP knew or should have known through the

              exercise of reasonable care and due diligence that the phosphogypsum

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            stack is not an engineered structure, meaning that it was an inadequate

            and dangerous foundational material upon which HDPE liners could be

            placed;

         c. FDEP’s decision(s) in its closure plan to use single HDPE liners at

            Piney Point, when FDEP knew or should have known through the

            exercise of reasonable care and due diligence that the existing erosional

            features, vertical cracks, existence of whirlpools, and other information

            identified in its 2001 Geotechnical Study meant the site was

            compromised and could not be returned to beneficial use even if HDPE

            liners were installed;

         d. FDEP’s and MCPA’s decision(s), permitting, regulatory approval, and

            representations that the Piney Point site’s impoundments, including the

            NGS-N and NGS-S, were appropriately designed and engineered to

            store dredged material from the Port Manatee expansion project,

            especially in light of the Corps’ stated concerns;

         e. Liner breaches occurring in 2011 and 2021 caused precipitation,

            dredged materials, and process wastewater to comingle and intermix

            with phosphogypsum stack material, creating a leachate that satisfies

            the statutory and regulatory requirements for classification as a

            hazardous waste;


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          f. FDEP’s decision(s) to continue to approve the use of Piney Point for

              the storage of dredged materials when FDEP knew, or should have

              known through the exercise of reasonable care and due diligence, that

              the site presented unacceptable risks of failure; and

          g. FDEP and HRK’s knowledge that the monitoring wells at Piney Point

              have shown consistent violations of the regulatory groundwater quality

              standards and demonstrate that dangerous levels of pollution have

              migrated into the underlying aquifer, putting the environment and

              human health at grave risk.

          h. FDEP and MCPA’s current plan for addressing the remaining process

              wastewater and other pollution at the site calls for injecting that

              pollution deep into Florida’s aquifer through deepwell injection. This

              plan presumes that the process wastewater and other pollution is

              exempt hazardous waste, which it is not. Deepwell injection of RCRA

              hazardous wastes presents an imminent and substantial endangerment

              to the environment because such hazardous waste will irreparably

              contaminate the aquifer.

 356. Piney Point also presents an imminent and substantial endangerment by

 releasing, leaking, leaching, or otherwise causing solid and hazardous waste to enter




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 groundwaters, where it is then transported off-site into nearby groundwaters and the

 underlying aquifer.

 357. Past and present groundwater sampling results from the monitoring wells

 indicates significant levels of pollution – in excess of regulatory groundwater quality

 standards – are being released from Piney Point into the underlying aquifer, where it

 impacts both the environment and human health.

 358. Upon information and belief, residents and businesses located in close

 proximity to Piney Point utilize the underlying aquifer for drinking water, irrigation

 water, and other uses. The wells these residents and businesses use to draw

 groundwater have been impacted and contaminated to unsafe levels.

 359. Additionally, groundwater contamination levels at the Piney Point site, and

 down-gradient and off-site from the border of Piney Point’s property, have

 contamination levels that exceed the maximum safe consumption limits established

 under state and federal law, further creating an imminent and substantial

 endangerment to public health and the environment.

 360. Piney Point also presents an imminent and substantial endangerment

 consequent to the 2021 discharge of approximately 215 million gallons of dredged

 material, process wastewater, and other nutrient-laden pollution into Tampa Bay.

 361. The dredged material, process wastewater, and nutrient-laden water was

 discharged by HRK directly into Tampa Bay on FDEP’s authority and order.


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 362. The discharge of such nutrient-laden water creates an environment in which

 harmful algae will thrive. The harmful toxins produced as a result of this algae bloom

 threatens severe human health consequences, as well as harm to the environment, as

 evidenced by the large quantity of marine wildlife that is killed during red tide events

 – wildlife such as fish, manatees, and dolphins. See 40 C.F.R. § 257.1 (defining

 “which solid waste disposal facilities and practices pose a reasonable probability of

 adverse effects on health or the environment”); 40 C.F.R. § 257.3-2 (prohibiting solid

 waste disposal practices which cause or contribute to a taking of a threatened or

 endangered species or resulting in destruction or adverse modification of critical

 habitat).

 363. Pursuant to RCRA Section 7002, Defendants are subject to an injunction

 under RCRA ordering them to cease and abate any past or present handling, storage,

 treatment, and/or transportation of any solid waste or hazardous waste that may

 present an imminent and substantial endangerment to health and/or the

 environment.

 364. Plaintiffs’ interests and Plaintiffs’ members’ constitutionally-protected interests

 are injured and will continue to be injured by this imminent and substantial

 endangerment and by Defendants’ failure to abate the endangerment unless the

 Court grants the relief herein sought.




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                                       COUNT II

        VIOLATIONS OF THE CLEAN WATER ACT: UNPERMITTED
                           DISCHARGES

 365. Plaintiffs incorporate Paras. 1-40, 61-69, 276-313.

 366. Plaintiffs and Defendants are “person[s]” under the Clean Water Act, 33

 U.S.C. § 1362(5).

 367. The discharge of pollutants from point sources without a lawfully-issued

 NPDES permit authorizing such discharges violates the Clean Water Act. 33 U.S.C.

 § 1311(a).

 368. There is no lawfully-issued NPDES permit for point source discharges from

 Piney Point.

 369. In the absence of a lawfully-issued NPDES permit, each and every discharge

 from each and every point source at Piney Point violates the Clean Water Act, 33

 U.S.C. § 1311(a). Upon information and belief, such unlawful discharges have

 occurred daily and continuously for at least the past five years and sixty days.

 370. The wastewater discharged during the 2021 Discharge contains “pollutant[s]”

 under the Clean Water Act. 33 U.S.C. § 1362(6).

 371. The 2021 Discharge amounted to the “discharge of a pollutant” and

 “discharge of pollutants” under the Clean Water Act, because it added pollutants to

 navigable waters from point sources. 33 U.S.C. § 1362(12).



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 372. The outfalls from which wastewater was discharged during the 2021

 Discharge are “point sources” under the Clean Water Act, because they are

 discernible, confined, and discrete conveyances from which pollutants are and may

 be discharged. 33 U.S.C. § 1362(14).

 373. All discharges from Piney Point since May 17, 2016 to navigable waters

 without an NPDES permit are violations of the Clean Water Act. The various

 outfalls from which wastewater has been discharged to Tampa Bay are “point

 sources” under the Clean Water Act, because they are discernible, confined, and

 discrete conveyances from which pollutants are and may be discharged. 33 U.S.C. §

 1362(14).

 374. Tampa Bay, Bishop Harbor, and all other waters into which discharges

 occurred are “navigable waters” subject to the Clean Water Act because they are

 waters of the United States.

 375. Defendants HRK and FDEP are the owner and operator of Piney Point and

 its point sources.

 376. Defendants HRK and FDEP and are jointly and severally liable under the

 Clean Water Act for the unpermitted discharge of pollutants from Piney Point. HRK

 is the owner of Piney Point and exercises a measure of control over the site’s

 wastewater infrastructure. FDEP is the operator of Piney Point and exercises a




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 measure of control over the site’s infrastructure. FDEP ordered the unpermitted

 discharges at Piney Point, and HRK initiated the discharges.

 377. HRK and FDEP’s unlawful discharges from Piney Point without an NPDES

 permit are ongoing and continuous. HRK and FDEP are liable for violating the

 Clean Water Act, and HRK is liable for civil penalties for each day discharges

 occurred, for each point source from which pollutants were discharged into navigable

 waters. The maximum daily civil penalty per point source is $56,460.

                                     COUNT III

                                   In the Alternative

       VIOLATIONS OF THE CLEAN WATER ACT: DISCHARGES IN
       VIOLATION OF TERMS OF NPDES PERMIT & VIOLATIONS OF
           OPERATION AND MAINTENANCE REQUIREMENTS

 378. Plaintiffs incorporate Paras. 1-40, 61-69, 276-299, and 313-316.

 379. Plaintiffs and Defendants are “person[s]” under the Clean Water Act, 33

 U.S.C. § 1362(5).

 380. Lawful discharges under the Clean Water Act must comply with the terms of

 a lawfully-issued NPDES permit. Violations of the terms of such a permit are

 violations of the Clean Water Act. 33 U.S.C. § 1311(a).

 381. Defendants’ discharge of pollutants from Piney Point to navigable waters

 during the 2021 Discharge were not compliant with the terms of HRK’s

 Administrative Agreement with FDEP.

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 382. Nowhere does HRK’s Administrative Agreement with FDEP authorize

 millions of gallons of wastewater to be discharged directly into navigable waters.

 383. The 2021 Discharge violated each and every effluent limitation contained in

 HRK’s Administrative Agreement with FDEP.

 384. HRK’s discharge of pollutants during the 2021 Discharge was not a “bypass”

 under the Clean Water Act or Florida law. Such a bypass is prohibited under state

 and federal law, unless a permittee provides prior notice of the discharge and

 demonstrate that “[t]here were no feasible alternatives to the bypass, such as the use

 of auxiliary treatment facilities, retention of untreated wastes, or maintenance during

 normal periods of equipment downtime.” F.A.C. 62-620.610(22)(a)(1). No such

 prior notice occurred prior to the 2021 Discharge.

 385. Based on HRK’s public statements concerning Piney Point’s inability to retain

 precipitation falling on the site, and that Piney Point was forced to rely upon

 Manatee County’s stormwater system during Hurricane Elsa in order to safely

 handle precipitation falling at the site without discharging, it is reasonably certain

 and foreseeable that discharges from the site will recur in the future.

 386. Additionally, HRK has violated and remains in violation of the Operations

 and Maintenance requirements of its Administrative Agreement with FDEP. Para.

 8(a)(1) of the Administrative Agreement requires HRK to “ensure that the operation

 and maintenance of the phosphogypsum stack system during closure and long-term


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 care of the facility is in accordance with Rule 62-673, F.A.C.” Para. 8(a)(3) requires

 HRK to “ensure that all aboveground impoundments are operated, maintained and

 inspected in accordance with Rule 62-672, F.A.C.” Florida Rule 62-673.340 states

 that phosphogypsum stacks “shall be...operated, maintained, closed, and monitored

 throughout its design period to control the movement of waste and waste

 constituents into the environment so that ground water and surface water quality

 standards and criteria of Chapters 62-302 and 62-520, F.A.C., will not be violated

 beyond the applicable zone of discharged specified for the system.”

 387. The discharges from Piney Point during the 2021 Discharge violated surface

 water quality standards and criteria of Chapters 62-302 and 62-620, F.A.C.

 388. The foreseeable and preventable 2021 Discharge establishes HRK’s failure to

 properly operate and maintain conditions at Piney Point, including, without

 limitation, neglect and mismanagement of the ponds and ignoring best engineering

 practices with regard to the integrity of the stack and/or the HDPE liner.

 389. The discharges from Piney Point during the 2021 Discharge would not have

 occurred had HRK complied with the Operations and Maintenance requirement of

 its Administrative Agreement with FDEP.

 390. HRK knows, and has known for years, that the wastewater infrastructure at

 Piney Point, including the site’s impoundments, were incapable of adequately

 treating and storing the process wastewater and precipitation falling on the site.


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 Despite this knowledge, HRK took no corrective action, maintenance, or other

 operational modifications at Piney Point to prevent discharges.

 391. HRK’s failure to properly operate and maintain the wastewater infrastructure

 subject to its Administrative Agreement with FDEP is ongoing and continuous.

 Each day that HRK has failed to properly operate and maintain the wastewater

 infrastructure subject to its Administrative Agreement with FDEP is a distinct

 violation of the Clean Water Act, subjecting HRK to maximum civil penalties of

 $56,460 per day.

                                REQUEST FOR RELIEF

 WHEREFORE, Plaintiffs pray that this Court:

       1.       Declare that Defendants past and/or present generation, handling,

 storage, treatment, transportation, and/or disposal of solid and hazardous waste may

 present an imminent and substantial endangerment to health and/or the

 environment.

       2.       Issue injunctive and remedial relief requiring Defendants to abate the

 present imminent and substantial endangerment to health and/or the environment at

 Piney Point.

       3.       Issue injunctive and remedial relief requiring Defendants to undertake a

 RCRA corrective action study to diagnose, evaluate, monitor, and abate all sources

 of contamination and endangerment at Piney Point.


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       4.     Exercise close supervision over Defendants as they implement a

 remedial investigation and closure plan that will fully abate the imminent and

 substantial endangerment threatened by Piney Point.

       5.     Issue temporary and/or permanent injunctive relief against Defendants,

 ordering Defendants to cease all activities constituting the imminent and substantial

 endangerment to health and/or the environment.

       6.     Declare that Defendants HRK and FDEP violated the Clean Water Act

 by discharging pollutants into navigable waters from point sources at Piney Point

 without first obtaining a lawfully-issued NPDES permit or, in the alternative, declare

 that Defendant HRK violated the terms of its NPDES permit by discharging

 pollutants during the 2021 Discharge and continues to violate its NPDES permit’s

 Operation and Maintenance requirements.

       7.     Issue temporary and/or permanent injunctive relief against HRK and

 FDEP, requiring those Defendants to either: (a) comply with the Clean Water Act

 and cease all discharges from Piney Point unless and until a lawful NPDES permit is

 obtained; or (b) in the alternative, comply with the terms of Piney Point’s NPDES

 permit, including its effluent limitations and operation and maintenance

 requirements.

       8.     Determine the number of Clean Water Act violations committed by

 HRK and/or FDEP, and assess appropriate civil penalties for those violations, as


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 authorized and required by the Clean Water Act, 33 U.S.C. § 1319(d).

       9.     Issue injunctive relief requiring Defendants to take immediate corrective

 action at Piney Point that will eliminate the possibility of future discharges, such as

 maintaining the impoundments at Piney Point at no more than 50% of their total

 storage capacity unless and until Piney Point is permanently closed.

       10.    Award Plaintiffs their reasonable attorneys’ and expert witnesses’ fees,

 and costs, incurred in bringing this litigation under 42 U.S.C. § 6972(e) and 33

 U.S.C. § 1365(d).

       11.    Grant any such further relief as the Court may deem just and proper.

 Dated this 12th Day of August, 2021.

 Respectfully submitted,

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